Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 1 of 70




  EXHIBIT A
         Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 2 of 70
                                           U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       November 15, 2021


BY EMAIL
Peggy Cross-Goldenberg, Esq.
Allegra Glashausser, Esq.
Marne Lenox, Esq.


   Re:      United States v. Lawrence Ray, S1 20 Cr. 110 (LJL)

Dear Ms. Lenox:

        Pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure the Government
hereby provides notice that it currently plans to call the following individuals as witnesses at trial:
(i) Stephen Flatley, Information Technology Specialist / Forensic Examiner at the Federal Bureau
of Investigation (the “FBI”); (ii) Dr. Dawn Hughes, forensic psychologist; (iii) Professional
Engineer Andrew Petersohn of dBm Engineering; and (iv) Dr. Richard Pleus, Chief Toxicologist
at Intertox, Inc. In addition, the Government anticipates calling a witness to testify about the
review and scheduling of certain transactions documented in bank records and receipts that will
be offered as Government exhibits at trial. The Government intends to introduce this testimony
as lay, not expert, testimony.

Stephen Flatley

        Mr. Flatley is a senior forensic examiner at the FBI. He has worked for the FBI as an
information technology specialist / forensic examiner since 2005. Mr. Flatley holds a Bachelor of
Science in business and computer science from Boston College, and a Master of Science in digital
forensics and cyber security from John Jay College of Criminal Justice. Mr. Flatley is an adjunct
professor of computer forensics at Fordham University, and regularly lectures on computer
forensics at the FBI field instructor program at the FBI Training Academy in Quantico, Virginia.
For approximately 16 years at the FBI, Mr. Flatley has conducted forensic examinations on
computer evidence, carried out research and development activities, performed search and seizure
operations, and provided expert technical support for cyber and technical cases. A copy of Mr.
Flatley’s curriculum vitae is attached as Exhibit A. The Government is also aware of certain prior
court cases in which Mr. Flatley testified regarding forensic examinations of digital evidence.
Please note that this list is provided as a courtesy and is merely a representative sample, not a
comprehensive list, of Mr. Flatley’s prior testimony.

   •     United States v. Mark Healey, 11 Cr. 132 (PAE) (S.D.N.Y. 2011)
   •     United States v. Calieb Barnes, 11 Cr. 184 (DLC) (S.D.N.Y. 2014)
   •     United States v. Gilberto Valle, 12 Cr. 847 (PGG) (S.D.N.Y. 2013)
   •     United States v. Charles Familetti, Jr., 13 Cr. 903 (LAP) (S.D.N.Y. 2015)
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 3 of 70

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    •   United States v. Gary Hirst, 15 Cr. 643 (PKC) (S.D.N.Y. 2016)
    •   United States v. Frank DiTomasso, 14 Cr. 160 (SAS) (S.D.N.Y. 2016)
    •   United States v. Mark Stasiv, 18 Cr. 259 (PKC) (S.D.N.Y. 2018)

        The Government expects that Mr. Flatley will testify regarding the analysis of images of
laptop computers, external storage drives, and cellphones recovered from the defendant on or about
February 11, 2020, and the analysis of images of laptop computers and cellphones recovered from
other individuals during the investigation of this case, including the laptop seized on July 22, 2021.
Attached as Appendix A is a list identifying the devices about which Mr. Flatley is expected to
testify. Mr. Flatley will explain the procedures for retrieving and analyzing forensic data from
such electronic media. In addition, Mr. Flatley will describe some of the types of retrieval and
analysis done in this case. Mr. Flatley’s testimony is based on his training, experience, and
participation in extracting the devices identified in Appendix A. The Government does not concede
that Mr. Flatley’s testimony is government by Rules 702, 703, and 705, but provides this notice in
an abundance of caution. 1

Dawn Hughes

        Dr. Hughes is a clinical psychologist and a board-certified forensic psychologist, and a
leading expert on sexual abuse, interpersonal violence, victimization, and traumatic stress. Dr.
Hughes maintains an independent practice in clinical and forensic psychology, is a Clinical
Assistant Professor of Psychology in the Department of Psychiatry at Weill Cornell Medical
College, served as President of the Women’s Mental Health Consortium from 2009 to 2017, and
was recently elected as President of the Trauma Division of the American Psychological
Association. She has frequently published, presented, and conducted professional legal and mental
health trainings on the topics that will be the subject of her testimony. Dr. Hughes’ testimony is
based her 25 years of clinical and forensic practice assessing victimization, her trauma-based
education and training, and an extensive study of the empirical data and social science literature
on sexual assault, interpersonal violence, victimization, coercive control, and trauma. A copy of
Dr. Hughes’ curriculum vitae is attached as Exhibit B.


1
  Mr. Flatley is expected to testify about facts relating to forensic image processes and/or searches
he conducted and not to offer opinions. Thus, although this notice is being provided in an
abundance of caution, Rule 16(a)(1)(G) does not require expert disclosures under these
circumstances. See United States v. Marsh, 568 F. App’x 15, 16-17 (2d Cir. 2014) (summary
order) (finding no error in allowing lay, non-expert testimony relating to search of electronic
device where witness simply “explained his training,” “described” his search, and “testified to the
contents of the messages retrieved from the phone”); United States v. Berry, 318 F. App’x 569,
569 (9th Cir. 2009) (unpublished opinion) (expert testimony not necessary where witness “simply
testified to what he found on the hard drive of [defendant’s] computer, without expressing an
opinion that required specialized knowledge or offering insight beyond common understanding”);
United States v. Scott-Emuakpor, No. 99 Cr. 138, 2000 WL 288443, at *12 (W.D. Mich. 2000)
(“The question before the Court at this time is not whether these witnesses have the expertise, for
example, to develop sophisticated software programs. The question is whether they have the skill
to find out what is on a hard drive or a zip drive. Apparently, they have this skill because they
determined what was on the drives.”).
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 4 of 70

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        Dr. Hughes is expected to testify about coercive control as a tactic of victimization and a
strategy to gain dominance across a spectrum of relationships. Dr. Hughes’s testimony is expected
to explain how the overarching dynamic of victimization is an abuse of power and control where
the harasser or perpetrator engages in self-centered behavior to satisfy his own goals and desires
regardless of the needs, wants, and well-being of the target or victim. Threats and the imposition
of negative consequences for non-compliance with demands and expectations are the cornerstones
of victimization. When threats are paired with actual physical or sexual violence and abuse, the
perpetrator demonstrates an ability and a willingness to make good on threats. Thereafter, verbal
threats become more salient and powerful, and physical or sexual violence by the perpetrator may
not be needed to exert the same level of control over the victims. Dr. Hughes is also expected to
testify about the common elements of abuse and coercive control in victimization situations,
including the following: actual or threatened physical violence, force, and aggression; sexual
assault, abuse, control, and coercion, and sexual degradation; financial and economic control;
physical and emotional isolation from preexisting support networks and external influence; use of
collateral or damaging or compromising information; exploitation of preexisting psychological,
developmental, traumatic, or financial vulnerability; psychological degradation and humiliation;
gaslighting; and surveillance techniques limiting privacy and independent thought, and instilling
the belief that the leader is omnipresent. The function of all these abusive behaviors is to
indoctrinate victims into a belief system that benefits the perpetrator, maintains compliance,
creates dependency, assures non-disclosure of abuse, preserves dominance, and creates
psychological entrapment and cognitive confusion.

        Dr. Hughes has not evaluated any specific victim in this case, and the Government does
not presently intend to offer Dr. Hughes’s testimony regarding any specific victim.

Andrew Petersohn

        Andrew Petersohn is a licensed Professional Engineer and the Principal Engineer at dBm
Engineering. Mr. Petersohn holds a Bachelor of Science and Master of Engineering from Lehigh
University. Since 1997, Mr. Petersohn has worked as an employee or contractor for multiple
cellular service providers including T-Mobile, Verizon, AT&T, Nextel (subsequently purchased
by Sprint), and Bell Atlantic. Mr. Petersohn has experience designing and testing cellular
networks, including through drive tests and performance analysis tests to determine coverage areas
of cell sites. Mr. Petersohn’s testimony is based on his education, training, and experience; his
review of information about AT&T and Verizon cell sites in Manhattan and New Jersey in or about
2018 and 2019; and review of the geography, topography, and environmental and man-made
factors that might affect the functioning of cell sites in Manhattan and New Jersey.

        Mr. Petersohn’s curriculum vitae is attached as Exhibit C. The Government is also aware
of certain prior court cases in which Mr. Petersohn testified as an expert in radiofrequency design
and cell site analysis. Please note that this list is provided as a courtesy and is merely a
representative sample, not a comprehensive list, of Mr. Petersohn’s prior testimony. 2

    •   United States v. Shabazz (D.N.J. 2005)

2
 In addition to court testimony, Mr. Petersohn has testified in a large number of municipal
hearings, regarding matters such as cell site placement and zoning.
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 5 of 70

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   •   New Cingular Wireless (AT&T) v. Zoning Hearing Board of Weisenberg Township et al.,
       06 Civ. 2932 (HSP) (E.D. Pa.)
   •   AT&T v. Kutztown (Berks County Court, Reading, Pennsylvania, May 2012)
   •   Skyway Towers LLC v. Myron Tomb Jr., No 11611-CD-2015 (Indiana County, PA Court
       of Common Pleas Feb. 2018)
   •   New York v. Lema-Yaucan, No. 356/2017 (Rockland, NY County Court, May 2019)
   •   United States v. Sidney Scales, 19 Cr. 96 (JSR) (S.D.N.Y. 2021)

         The Government expects Mr. Petersohn to testify about cellular network operations,
including but not limited to their design, coverage, testing, and performance. Mr. Petersohn is
expected to testify, for example, that: (1) each cellular service provider’s networks consists of cell
sites, which are designed to provide service to the provider’s customers in a given area; (2)
providers locate, arrange, and optimize cell sites with the goal of ensuring sufficient geographical
coverage and capacity to service all users; (3) to accomplish these goals in densely populated urban
environments, service providers place multiple cell sites, each of which is intended to service a
relatively small geographical area that typically spans a few city blocks, depending on the
surrounding geography and topography, the proximity of nearby sites, and the network layouts for
AT&T and Verizon in Manhattan and New Jersey in or about 2018 and 2019; (4) wireless devices
(including cellphones) are designed to meet universal industry protocols by which phones connect
to the cell site that provides the strongest and clearest signal, which is often (but not always) the
nearest site; (5) these protocols are a necessity within the industry because they allow cell networks
to reliably, predictably, and efficiently service customers and allow for wireless device inter-
operability across different sites, regions, and manufacturers; and (6) analyzing cell site location
data obtained from service providers is a reliable way to approximate the geographical area or
range within which a wireless device was likely located at the time of the connection to the cell
site, including for wireless devices serviced by AT&T and Verizon in Manhattan and New Jersey
in or about 2018 and/or 2019.

        Mr. Petersohn is also expected to testify about the geographical area or range within which
the wireless devices assigned the following call numbers were used on certain dates in 2018 and
2019:             -9122,              -6344,             -6751 (collectively, the “Devices”). The
particular dates about which Mr. Petersohn currently is expected to testify, and the Devices used
on those dates, are identified in the attached Appendix B. Mr. Petersohn is preparing draft maps
reflecting the geographical area or range within which the Devices were used, and those maps will
be produced to you on or before December 15, 2021. The records about which Mr. Petersohn is
expected to testify were produced to you on February 19, 2020, assigned control numbers
US_000371 and US_000372.

Richard Pleus

        Dr. Pleus is the CEO and Chief Toxicologist at Intertox, Inc., a scientific consulting and
research firm. Dr. Pleus’s background is in general toxicology and pharmacology, with expertise
in the neurological, endocrinological, respiratory, reproductive, and developmental aspects of
those sciences.

       Dr. Pleus holds a Ph.D. in environmental toxicology, and a Master of Science in
environmental public health from the University of Minnesota. He served as the U.S. delegate for
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 6 of 70

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the U.S.-Russia Bilateral Presidential Commission on Science and Technology, and leads the U.S.
delegation for Environmental Health and Safety to the International Organization for
Standardization Technical Committee. Dr. Pleus has lectured at the University of Minnesota,
University of Nebraska, and University of Washington, among other institutions. Dr. Pleus has
published and conducted extensive research on the effects of chemicals on the human body,
including metals, nanomaterials, chemical warfare agents, pesticides, pharmaceuticals, chlorinated
hydrocarbons, volatile and non-volatile organic compounds, and mycotoxins. A copy of Dr.
Pleus’s curriculum vitae, and his list of prior testimony is attached as Exhibit D. Please note that
this list is provided as a courtesy and is merely a representative sample, not a comprehensive list,
of Dr. Pleus’s prior testimony. Dr. Pleus’s testimony is based on his education and training, his
more than 25 years of experience conducting scientific research on toxins, his review of the
reference materials identified in Appendix C, and the medical records identified in the attached
Appendix D (the “Medical Records”). As Dr. Pleus is expected to testify, the Medical Records
were sufficiently standard to form an opinion in this case without physically examining Mr. Ray.

        Dr. Pleus is expected to testify about the biomarkers and symptoms that result from human
exposure to various toxins, and toxicants, including mercury, estrogen compounds, cleaning fluids,
thalium, copper, ricin, cyanide, organophosphates, and arsenic. Dr. Pleus will describe the ways
in which a person might be exposed to such compounds, and the ways in which the duration of
exposure and dose would affect the resulting biomarkers and symptoms. Dr. Pleus will also
provide background information about the methods and standards used by laboratories to test blood
and other biological material for exposure to toxins or toxicants. Dr. Pleus will testify there are
no biomarkers in the Medical Records to indicate Lawrence Ray was exposed to toxins or toxicants
– including mercury, estrogen compounds, cleaning fluids, thalium, copper, ricin, cyanide,
organophosphates, or arsenic – at doses that would cause the health effects reported by Mr. Ray.
Dr. Pleus will further testify about daily, normal environmental factors, such as consumption of
certain foods, which could result in elevated blood-mercury levels. Furthermore, Dr. Pleus will
testify about diagnoses and other results reflected in the Medical Records that may have
contributed to Mr. Ray’s reported neurological effects and alleged nerve damage. Dr. Pleus’s
report is attached as Exhibit E.

Demand for Reciprocal Notice and Alibi Notice

          In light of your request for the foregoing notice, the Government hereby requests reciprocal
notice under Fed. R. Crim. P. 16(b)(1)(C). As ordered by the Court, the defendant’s expert notice
is due on December 6, 2021. In addition, the Government reiterates its request, first made on
February 19, 2020, and repeated with subsequent Government discovery productions, for
reciprocal disclosure of any results or reports of physical or mental examinations and of scientific
tests or experiments made in connection with this case, or copies thereof, which are in the
defendant’s possession or control, and which the defendant intends to introduce as evidence or
otherwise rely on at trial or which were prepared by a witness whom the defendant intends to call
at trial.

        The Government also reiterates its request that the defendant disclose prior statements of
witnesses he will call to testify, including expert witnesses. See Fed. R. Crim. P. 26.2; United
States v. Nobles, 422 U.S. 225 (1975). We request that such material be provided on the same
basis upon which we agree to supply the defendant with 3500 material relating to Government
witnesses.
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 7 of 70

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       The Government reserves the right to supplement this notice with notice of additional
expert witnesses and/or additional information concerning the witness disclosed herein.



                                          Very truly yours,

                                          DAMIAN WILLIAMS
                                          United States Attorney

                                      by: __/s/_______________________
                                          Mollie Bracewell
                                          Lindsey Keenan
                                          Danielle Sassoon
                                          Assistant United States Attorneys
                                          (212) 637- 2218 / 1565 / 1115
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 8 of 70




                       Appendix A
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 9 of 70
Stephen Flatley
Appendix A

 Device 1B Number Cart Number       Description                        Date Produced
                                    Desktop Storage (just a computer
 1        1B6       N/A
                                    Monitor) Non-viable
                                    Apple Laptop Serial#
 2        1B7       N/A
                                    W89260YN7XJ Non-viable
                                    Apple Laptop Serial#
 3        1B8       N/A
                                    C02FQSZSDH2G Non-viable
                                                                       5/21/2020
 4        1B12      NYC028008       Asus laptop
                                                                       Production #6
                                                                       5/21/2020
 5        1B17      NYC028010       Acer Laptop
                                                                       Production #6
                                                                       5/21/2020
 6        1B28      NYC028002       Silver Maxtor Hard Drive
                                                                       Production #6
                                                                       5/21/2020
 7        1B29      NYC028004       Black Ultra Hard Drive
                                                                       Production #6
                                    LG cell Phone/charger
 8        1B35      N/A             Phone would not charger/turn on
                                    Non-viable
                                                                       5/21/2020
 9        1B36      NYC027944       HD Omen Desktop PC
                                                                       Production #6
 10       1B37      N/A             3 thumb drives Non-viable
                                    Various hard drives
                                    NYC027992
                                    NYC027991                          5/21/2020
 11       1B38
                                    NYC027993                          Production #6
                                    NYC027994
                                    NYC027990
                                    Apple Tablet Serial
 12       1B41                      DLXR262RGMW4
                                    On Brute Force/Grey Key
                                                                       7/1/2020
 13       1B42      NYC028041       Motorola Flip phone
                                                                       Production #9
                                                                       7/1/2020
 14       1B43      NYC028006       Cracked iphone with case
                                                                       Production #9
                                    Pink iPhone
 15       1B44      NYC027937
                                    On Brute Force/Grey Key
                                    Seized as "small camera" Non-
 16       1B45      N/A
                                    viable
                                                                       4/21/2020
 17       1B47      NYC027938       Black iphone in black case
                                                                       Production #5
                                                                       4/21/2020
 18       1B48      NYC027939       White iphone in clear case
                                                                       Production #5
                                                                       5/21/2020
 19       1B51      NYC027945       Apple Macbook Pro Non-viable
                                                                       Production #6
                                    1B52-1 (NYC028014)                 5/21/2020
 20       1B52
                                    1B52-2 (NYC028013)                 Production #6
                                    1B54-1 iphone 4 (NYC028056)        7/1/2020
                                    Brute Force                        Production #9
 21       1B54
                                    1B54-2 White ipod (NYC028055)      (1B54-6, -7, -8, -9)
                                    1B54-3 Grey ipod (NYC028054)       7/21/2020
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 10 of 70
Stephen Flatley
Appendix A

 Device 1B Number Cart Number      Description                        Date Produced
                                   1B54-4 Silver Ipod (NYC028053)     Production #10
                                   1B54-5 Blk HTC phone               (1B54-4)
                                   (NYC028057) Non-viable 1
                                   B54-6 Blk HTC Phone
                                   (NYC028048)
                                   1B54-7 Blk LG phone (NYC)
                                   028051
                                   1B54-8 Purple LG phone
                                   (NYC0028046)
                                   1B54-9 Blk LG phone
                                   (NYC028049)
                                   1B55-1 Blk iphone in case
                                                                      7/1/2020
                                   (NYC028044) Non-viable
 22       1B55                                                        Production #9
                                   1B55-2 Blk & silver Samsung
                                                                      (1B55-2)
                                   phone (NYC028043)
                                   1B59-1 Silver Gtech Hard Drive
                                   (NYC028012)                        5/21/2020
                                   1B59-2 Silver WD Hard Drive        Production #6 &
 23       1B59
                                   (NYC028011)                        6/9/2020 -
                                   (2) SD cards and (1) thumb drive   Production #8
                                   small media
                                   1B63-1 Sprint Galaxy white
                                   (NYC028052) Non-viable             7/1/20202
                                   1B63-2 HTC Boost mobile blk        Production #9
                                   (NYC028047)                        (1B63-4) &
 24       1B63
                                   1B63-3 Apple iPhone silver         7/21/2020
                                   (NYC028045) Non-viable             Production #10
                                   1B63-4 Verizon LG blk              (1B63-2)
                                   (NYC028050)
                                   1B64-1 Toshiba (NYC027987)
                                   1B64-2 Toshiba (NYC027988)
                                   1B64-3 WD Scorpio
                                   (NYC027986)                        5/21/2020
 25       1B64
                                   1B64-4 Seagate (NYC027985)         Production #6
                                   1B64-5 Toshiba (NYC027984)
                                   1B64-6 Seagate (NYC027983)
                                   1B64-7 Seagate (NYC027989)
                                                                      4/21/2020
 26       1B70
                    NYC027940      iPhone in pink case                Production #5
                                                                      8/26/2021
 27
          1B84      NYC030290      Lawrence Ray laptop                Production #28
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 11 of 70




                        Appendix B
      Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 12 of 70
Andrew Petersohn
Appendix B

 Date                 Device
 January 8, 2018               -6751
 January 9, 2018               -6751;     -6344
 January 10, 2018               6751
 January 11, 2018     (        -6751;     -6344
 January 12, 2018              -6751
 January 16, 2018              -6751
 January 17, 2018     (        -6751; (    6344
 January 20, 2018     (        -6751;     -6344
 January 21, 2018     (        -6751
 January 24, 2018     (        -6751
 January 25, 2018              -6751;     -6344
 January 26, 2018              -6751
 January 29, 2018              -6751
 January 30, 2018     (        -6751; (   -6344
 January 31, 2018              -6751
 February 11, 2018             -6751
 February 12, 2018             -6751;     -6344
 August 14, 2018               -6751;     -6344;   -9122
 August 23, 2018               -6751;     -6344;   -9122
 September 13, 2018            -6751;     -6344;   -9122
 September 24, 2018            -6751;     -6344;   -9122
 October 8, 2018               -6751;
 October 9, 2018               -6751;     -6344
 October 10, 2018              -6751
 October 14, 2018              -6751;
 October 15, 2018              -6751;     -6344;   -9122
 October 16, 2018              -6751;     -6344;   -9122
 November 22, 2018             -6344;     -9122
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 13 of 70




                        Appendix C
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 14 of 70

Richard Pleus, PhD, MS
Appendix C

ACGIH. 2001a. Mercury, All Forms Except Alkyl. In: Documentation of the TLVs and BEIs.
American Conference of Governmental Industrial Hygienists.
ACGIH. 2001b. Mercury, Alkyl Compounds. In: Documentation of the TLVs and BEIs.
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for Chemical Substances and Physical Agents and Biological Exposure Indices. American
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                                                                                   Confidential
DRAFT                                                                 Attorney-Client Privilege
November 15, 2021                            1                Do Not Cite, Quote or Commingle
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 15 of 70

Richard Pleus, PhD, MS
Appendix C
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clearance half-time to infants. J Appl Toxicol. 23(4):263-9.
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intake: National Health and Nutrition Examination Survey, 1999 and 2000. Environ Health
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education-center/faq/faq45.
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November 4, 2021 at https://testdirectory.questdiagnostics.com/test/test-detail/599/lead-
venous?p=r&q=lead&cc=MASTER.
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Diagnostics Incorporated. Accessed on November 4, 2021 at
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igm-immunoblot?p=r&q=lyme%20disease,%20EIA&cc=MASTER.
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absorption, blood levels, and excretion of mercury after a single dose of mercury vapor in
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                                                                                     Confidential
DRAFT                                                                   Attorney-Client Privilege
November 15, 2021                              2                Do Not Cite, Quote or Commingle
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 16 of 70

Richard Pleus, PhD, MS
Appendix C
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Appl Pharmacol. 137(2):245-52.
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Health Organization, Geneva, Switzerland. August. Accessed October 24, 2021 at
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                                                                                  Confidential
DRAFT                                                                Attorney-Client Privilege
November 15, 2021                           3                Do Not Cite, Quote or Commingle
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 17 of 70




                        Appendix D
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 18 of 70
Richard Pleus, PhD, MS
Appendix D

 File Name                                            Control No. Start   Control No. End
 2016.07.07 NYP Production_Redacted.pdf               US_090730           US_090815
 2016.07.14 NYPres Statement.pdf                      US_090816           US_090818
 2016.07.25 Mount Sinai production_Redacted.pdf       US_090819           US_090918
 2017.08.31 Mount Sinai lab work.pdf                  US_091316           US_091323
 2017.08.31 Mount Sinai records 2_Redacted.pdf        US_091324           US_091348
 2017.08.31 Mount Sinai records_Redacted.pdf          US_091349           US_091365
 Complete Neurological Care Dr Patel                  US_091367           US_091432
 records_Redacted.pdf
 Continuity_of_Care_Record_(CCR) LVR NYP              GOOGLE_000143655    GOOGLE_000143655
 Cornell DiTommaso Assault 18Sep2015.pdf
 GOOGLE_000143389.pdf                                 GOOGLE_000143389    GOOGLE_000143389
 GOOGLE_000143390.pdf                                 GOOGLE_000143390    GOOGLE_000143390
 GOOGLE_000143391.pdf                                 GOOGLE_000143391    GOOGLE_000143391
 GOOGLE_000143392.pdf                                 GOOGLE_000143392    GOOGLE_000143392
 GOOGLE_000143393.pdf                                 GOOGLE_000143393    GOOGLE_000143393
 GOOGLE_000143394.pdf                                 GOOGLE_000143394    GOOGLE_000143394
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 GOOGLE_000143396.pdf                                 GOOGLE_000143396    GOOGLE_000143396
 GOOGLE_000143397.pdf                                 GOOGLE_000143397    GOOGLE_000143397
 GOOGLE_000143398.pdf                                 GOOGLE_000143398    GOOGLE_000143398
 GOOGLE_000143399.doc                                 GOOGLE_000143399    GOOGLE_000143399
 GOOGLE_000143639.eml                                 GOOGLE_000143639    GOOGLE_000143639
 GOOGLE_000144202.pdf                                 GOOGLE_000144202    GOOGLE_000144202
 GOOGLE_000144935.eml                                 GOOGLE_000144935    GOOGLE_000144935
 Lawrence Ray Columbia Medical.pdf                    US_015366           US_015666
 LVR - Neurology - Patel - Lab Results04Aug2014.pdf   GOOGLE_000144948    GOOGLE_000144948
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 LVR EMG and NCV Report 04Sept2014.pdf                GOOGLE_000144946    GOOGLE_000144946
 LVR EMG and NCV Report 29Jan2016.pdf                 GOOGLE_000144945    GOOGLE_000144945
 LVR EMG and NCV Report 31July2014.pdf                GOOGLE_000144944    GOOGLE_000144944
 LVR MRI Brain w and w-o 11Jan2016.png                GOOGLE_000144937    GOOGLE_000144937
 LVR NC FastMed Visit 15Aug2013.pdf                   GOOGLE_000143654    GOOGLE_000143654
 LVR NC Fastmed Visit 16Aug2013.pdf                   GOOGLE_000143653    GOOGLE_000143653
 LVR NC Fastmed Visit 18Aug2013.pdf                   GOOGLE_000143652    GOOGLE_000143652
 LVR NC Fastmed Visit 21Aug2013.pdf                   GOOGLE_000143651    GOOGLE_000143651
 LVR NC Fastmed Visit 26Sept2013.pdf                  GOOGLE_000143650    GOOGLE_000143650
 LVR Patel MRI Brain Report 05Aug2014.png             GOOGLE_000144936    GOOGLE_000144936
 LVR Patel MRI Brain w and w-o Report                 GOOGLE_000144942    GOOGLE_000144942
 03Nov2014.pdf
 LVR VNG Report 04Sept2014.pdf                        GOOGLE_000144941    GOOGLE_000144941
 PrintChart [BOP prod 17].pdf                         US_088152           US_088300
 Ray, Lawrence.pdf                                    US_015667           US_015753
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 19 of 70




                          Exhibit A
            Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 20 of 70
Stephen R. Flatley
Page 1 of 5

CURRICULUM VITAE
FBI Expert Witness


                       Stephen R. Flatley
                       Federal Bureau of Investigation
                       Computer Analysis Response Team
                       26 Federal Plaza
                       New York, NY 10278
                       PHONE: 212-384-4838
                       FAX: 212-384-1334


PROFESSIONAL EXPERIENCE

May 2005 - present     Computer Forensic Examiner
                       New York Field Office
                       Federal Bureau of Investigation
                       New York, New York

                       As a forensic computer examiner in a laboratory, examine physical evidence under a
                       documented quality assurance program that includes annual proficiency testing,
                       technical/peer and administrative reviews and adherence to standard operating
                       procedures.

                       Conduct forensic examinations on digital evidence and perform search and seizure
                       operations.


Jan 2001– May 2005     Senior Technical Consultant
                       Viecore, Inc.
                       1111 MacArthur Blvd.
                       Mahwah, NJ

                       Duties included programming in many different computer languages, data base
                       administration, quality assurance management and project management. Applications
                       mainly focused on Integrated Voice Response systems (IVR), web applications, and on-
                       line banking.

July 1997 – Jan 2001   Programmer
                       Erisco, Inc.
                       Union, NJ

                       Maintained and coded systems to build Facets product using Perl (Both NT and UNIX
                       platforms). Served as PVCS administrator for entire Facets product. Designated build team
                       leader after making significant improvements to build process.

April 1992 – July 1997 Senior Environmental Health Specialist
                       Bergen County Health Department
                       Paramus, NJ

                       Conducted environmental investigations/inspections and hazardous materials emergency
                       response. Coordinated enforcement efforts with NJ State Department of Environmental
                       Protection. Designed and implemented entire database system utilized by Environmental
                       Division. Designed subsequent database system for Dental Health Division upon request
                       of Department Director.
             Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 21 of 70
Stephen R. Flatley
Page 2 of 5


EDUCATION

Jan 2015 – Dec 2019    John Jay College of Criminal Justice
                       New York, NY
                       Masters in Digital Forensics and Cyber Security

Sept 1996 – June 1998 The Chubb Institute
                      Parsippany, NJ
                      Diploma in Computer Programming

Sept 1982 – May 1986 Boston College
                     Chestnut Hill, MA
                     Bachelor of Science in Business and Computer Science


FORENSIC EXAMINATION / TESTIMONY EXPERIENCE

Analyzed over 1000 pieces of computer media in support of over 300 cases since 2005. Participated in the
execution of over 200 search warrants/search and seizure operations, and field examinations. Examinations have
supported expert testimony in Federal Court, Southern District of NY and Eastern District of NY.



PROFESSIONAL TRAINING


Sept 2005              Network + Certification, Northwest Regional Computer Forensic Laboratory,
                       Portland, OR (5 days)

Oct 2005               Basic Data Recovery and Analysis. Intermountain West Regional Computer Forensic
                       Laboratory, Salt Lake City, UT (5 days)

Nov 2005               FTK Boot Camp, Access Data, Hamilton, NJ. (3 days)

Jan 2006               A+ Certification, Intermountain West Regional Computer Forensic Laboratory,
                       Salt Lake City, UT (10 days)

Feb 2006               Advanced Windows Forensics, Rocky Mountain Regional Computer Forensic Laboratory,
                       Centennial, CO (3 days)

April 2006             Basic Windows Certification Training Practicals, Justice Training Facility, Fredericksburg,
                       VA (5 days)

Feb 2007               Microsoft Advanced Forensics, Rocky Mountain RCFL, Denver, CO (5 days)

June 2007              Instructor Development Course, San Diego RCFL, San Diego, CA (5 days)

Aug 2007               RAID, FBI BWI office, Linthicum, MD (4 days)

Oct 2007               CART DES administrator, FBI BWI office, Linthicum, MD (3 days)

Dec 2007               Cell Phone/ PDA Analysis, San Diego RCFL, San Diego, CA (4 days)

Jan 2008               Access Data Internet Forensics, Rocky Mountain RCFL, Denver, CO (3 days)

Feb 2008               Encase Intermediate Forensics, FBI Tampa Division, Tampa, FL (4 days)

Jan 2009               Microsoft Windows Vista Advanced System Forensics, Chicago, IL (3 days)
              Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 22 of 70
Stephen R. Flatley
Page 3 of 5


Feb 2009              Cellebrite/Secureview Cell Phone Forensics, Salt Lake City, UT (4 days)

April 2009            Forward Discovery Macintosh Forensics, Menlo Park, CA (5 days)
May 2009              .XRY Mobile Phone Examination, Kansas City, MO (2 days)

March 2010            EnCase Internet Processing, Chicago, IL (3 days)

March 2010            Virtual Forensics for Linux, Denver, CO (5 days)

August 2010           Live Capture, Baltimore, MD (3 days)

December 2010         Forensic Tool Kit 3, Dallas, TX (3 days)

March 2011            Advanced FTK Lab, Baltimore, MD (3 days)

June 2011             Linux Command Line, Stafford, VA (3 days)

April 2012            Windows 7 Artifacts, FBI BWI office, Linthicum, MD (3 days)

September 2012        FTK III for Mac, San Diego RCFL, San Diego, CA (3 days)

May 2014              Blacklight, NYPD Academy, New York, NY (2 days)

May 2014              OS Artifacts, FBI BWI office, Linthicum, MD (3 days)

May 2016              International Association of Computer Investigative Specialist (IACIS) Windows Forensic
                      Examiner, Orlando, FL (4 days)

March 2018            Cellebrite Certified Operator & Cellebrite Certified Physical Analyst, Austin, TX (5 days)

April 2018            Macintosh Forensics, Black Bag, San Diego, CA (5 days)

March 2019            BERLA Vehicle Forensics, BERLA, Annapolis, MD (5 days)


CERTIFICATIONS & AWARDS


February 2006         A+ Certification - CompTIA

September 2006        Net+ Certification – CompTIA

October 2006          FBI CART Basic Wintel Forensic Examiner – Federal Bureau of Investigation

June 2007             FBI Certified Instructor – Federal Bureau of Investigation

December 2007         PDA/Cell Phone Forensic Examiner – Federal Bureau of Investigation

February 2008         EnCase Certification – Federal Bureau of Investigation

April 2009            Macintosh Forensic Examiner – Federal Bureau of Investigation

August 2010           Senior Forensic Examiner – Federal Bureau of Investigation


PRESENTATIONS

September 2006        FBI CART Moot Court Training, Phoenix, AZ
              Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 23 of 70
Stephen R. Flatley
Page 4 of 5


August 2008           FBI CART Senior Moot Court Training, San Diego, CA

October 2008          Instructor, ImageScan training, Bergen County Prosecutor’s Office, Paramus, NJ

June 2009             Instructor, ImageScan training, NYPD Computer Crimes Unit, NY, NY

July 2009             Instructor, ImageScan training, NYPD Computer Crimes Unit, NY, NY

April 2010            Infraguard Computer Forensics Show, NY, NY

August 2010           Session Chair, International Conference on Cyber Security, Fordham University, NY, NY

August 2010           Instructor, ImageScan training, NY, NY

January 2012          Speaker, International Conference on Cyber Security, Fordham University, NY, NY

August 2013           Speaker, International Conference on Cyber Security, Fordham University, NY, NY

January 2015          Speaker, International Conference on Cyber Security, Fordham University, NY, NY

June 2015             Instructor, DExT Practicals Class, Stafford, VA

January 2016          Instructor, DExT Practicals Class, Stafford, VA

August 2016           Speaker, International Conference on Cyber Security, Fordham University, NY, NY

August 2016           Instructor, DExT Practicals Class, Stafford, VA

October 2016          Instructor, DExT Practicals Class, Stafford, VA

March 2017            Instructor, DExT Practicals Class, Stafford, VA

August 2017           Instructor, DExT Practicals Class, Stafford, VA

January 2018          Speaker, International Conference on Cyber Security, Fordham University, NY, NY

March 2018            Instructor, Digital Investigations for Prosecutors and Judges, Accra, Ghana

September 2018        Instructor, Digital Evidence and Moot Court, Accra, Ghana

July 2018             Instructor, DExT Practicals Class, Linthicum, MD

October 2018          Instructor, Digital Forensic Examiner I Class, Stafford, VA

March 2019            Instructor, DExT Practicals Class, Linthicum, MD

June 2019             Instructor, Digital Forensic Examiner OS Class, Stafford, VA

June 2019             Instructor, Mobile Forensics and Bitcoin, Accra, Ghana

November 2019         Instructor, Digital Investigations for Prosecutors, Cairo, Egypt

August 2020           FBI CART Moot Court Training, Williamsburg, VA

March 2021            Instructor, DExT Practicals Class, Linthicum, MD

May 2021              FBI CART Moot Court Training, Orlando, FL
            Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 24 of 70
Stephen R. Flatley
Page 5 of 5


June 2021            Instructor, Incident Response and Acquisition Analysis Class, Stafford, VA

July 2021            Instructor, DExT Practicals Class, Stafford, VA

November 2021        FBI CART Moot Court Training, Tampa, FL
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 25 of 70




                          Exhibit B
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 26 of 70

                               Curriculum Vitae
                         Dawn M. Hughes, Ph.D. ABPP
                                     2019
PROFESSIONAL ADDRESS

                     274 Madison Avenue - Suite 604
                     New York, New York 10016
                     Tel:   (212) 481-7044
                     Fax: (212) 481-7045
                     Web: www.drdawnhughes.com
                     Email: hughes@drdawnhughes.com

EDUCATION

1996                 Doctor of Philosophy in Clinical Psychology
                     Nova Southeastern University, Fort Lauderdale, FL

1992                 Master of Science in Clinical Psychology
                     Nova Southeastern University, Fort Lauderdale, FL

1988                 Bachelor of Arts in Psychology
                     Hamilton College, Clinton, NY

PROFESSIONAL TRAINING

9/96 - 9/97          Postdoctoral Fellow - Research Associate in Psychiatry
                     Weill Cornell Medical College - New York Presbyterian Hospital
                     Anxiety and Traumatic Stress Program - Payne Whitney Clinic
                     New York, NY

6/94 - 6/95          Predoctoral Intern
                     Yale University School of Medicine - Department of Psychiatry
                     Substance Abuse Treatment Unit and West Haven Mental Health Clinic New
                     Haven, CT

CURRENT POSITIONS

1998 - Present       Independent Practice in Clinical and Forensic Psychology
                     Specialization in Traumatic Stress, Interpersonal Violence and
                     Anxiety Disorders

2010 - Present       Clinical Assistant Professor of Psychology in Psychiatry
                     Weill Cornell Medical College - New York Presbyterian Hospital
                     New York, NY

LICENSURE & BOARD CERTIFICATION

1997   New York Licensed Psychologist
2005   Board Certification in Forensic Psychology - American Board of Professional Psychology
2015   Connecticut Licensed Psychologist
2015   North Carolina Licensed Psychologist
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 27 of 70
                                                                         Dawn M. Hughes, Ph.D. ABPP
                                                                                          Page 2 of 7

PROFESSIONAL AFFILIATIONS

American Psychological Association (APA)
        American Psychology and Law Society
        Division of Trauma Psychology
        Psychologists in Independent Practice
        Society for the Psychology of Women
New York State Psychological Association (NYSPA)
American Board of Professional Psychology (ABPP)
Fellow – American Academy of Forensic Psychology (AAFP)
International Society for Traumatic Stress Studies (ISTSS)
Anxiety Disorders Association of America (ADAA)
Women’s Mental Health Consortium (WMHC)
International Society for the Study of Trauma and Dissociation (ISSTD)

PROFESSIONAL ACTIVITIES

American Psychological Association (APA)
      Council of Representatives – Division of Trauma Psychology – 2018-present
      Member-at-Large – Division of Trauma Psychology – 2013-2014
      Leadership Institute for Women in Psychology – 2011-2012
      Awards Chair - Division of Trauma Psychology – 2010-2012
      Convention Program Co-Chair – Division of Trauma Psychology 2008-2010

Women’s Mental Health Consortium
     President 2009-2017
     Membership Chair 2007-2009

International Society for Traumatic Stress Studies (ISTSS)
        Program Committee 2001

CLINICAL EXPERIENCE

1/97 - 9/97            Clinical Diagnostic Interviewer
                       Rockefeller University-Laboratory of Human Neurogenetics, NY, NY

9/92 - 8/93            Psychology Extern
                       Veterans' Administration Outpatient Clinic, Oakland Park, FL

9/91 - 8/92            Psychology Extern
                       Family Violence Program, Nova University, Fort Lauderdale, FL

9/90 - 6/91            Psychology Trainee
                       Nova University Community Mental Health Center, Lauderhill, FL

5/91 - 11/91           Crisis Clinician
                       Nova University Crisis Services, Fort Lauderdale, FL

5/89 - 7/90            Legal Services Assistant
                       The Legal Aid Society - Federal Defenders Services Unit, New York, NY
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 28 of 70
                                                                                Dawn M. Hughes, Ph.D. ABPP
                                                                                                 Page 3 of 7


5/88 - 5/89              Substance Abuse Counselor
                         Narco Freedom, Bronx, NY

10/87 - 5/88             Field Study Intern
                         Central New York Psychiatric Center, Marcy, NY

TEACHING EXPERIENCE

2002 - 2010              Clinical Instructor of Psychology in Psychiatry
                         Weill Cornell Medical College, New York, NY
                         New York Presbyterian Hospital - Payne Whitney Clinic

1998 - 2000              Consultant: Professional Development, Education and Training
                         Victim Services, New York, NY

9/92 - 12/92             Teaching Assistant
9/93 - 12/93             Nova Southeastern University, Fort Lauderdale, FL
                         Courses: Advanced Research Design and Intermediate Statistics

RESEARCH EXPERIENCE

5/92 - 5/94              Research Coordinator
                         Sexual Abuse Survivors Program
                         Nova University Community Mental Health Center, Fort Lauderdale, FL

9/91 - 5/94              Research and Statistical Consultant
                         Nova University - Fort Lauderdale, FL

PUBLICATIONS

Tardiff K. and Hughes, D.M. (2011). Structured and clinical assessment of risk of violence. In
Drogin et al. (Eds.) Handbook of Forensic Assessment: Psychiatric and Psychological Perspectives, John Wiley &
Sons, Inc., New Jersey

Hughes, D.M. & Cloitre, M. (1999). Rape and sexual assault among adult women. In K. Tardiff
(Ed.). Medical Management of the Violent Patient, Marcel Dekker, Inc., New York

Gold, S.N., Hughes, D.M. & Swingle, J. (1999). Degrees of memory of childhood sexual abuse
among women survivors in therapy. Journal of Family Violence, 14, 35-46.

Gold, S.N., Elhai, J., Lucenko, B.A., Swingle, J.M., & Hughes, D.M. (1998). Abuse characteristics
among childhood sexual abuse survivors in therapy: A gender comparison. Child Abuse and Neglect,
22, 1005-1012.

Hughes, D.M. (1996). Memory for childhood sexual abuse: Prevalence and relationship to abuse
characteristics and psychological effects. Doctoral dissertation.

Gold, S.N., Hughes, D.M. & Swingle, J. (1996). Characteristics of childhood sexual abuse among
female survivors in therapy. Child Abuse and Neglect, 20, 323-335.
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 29 of 70
                                                                            Dawn M. Hughes, Ph.D. ABPP
                                                                                             Page 4 of 7


Gold, S.N., Hughes, D.M. & Hohnecker, L. (1994). Degrees of repression of sexual abuse
memories. American Psychologist, 49, 441-442.

PROFESSIONAL PRESENTATIONS

Hughes, D.M. and Rocchio, L.M. (August 2014). Essentials of Forensic Assessment of Trauma in Criminal
and Civil Matters. Presentation at the 122nd Annual Convention of the American Psychological
Association, Washington, D.C.

Hughes, D.M. (November 2013). It Matters: The Developmental Lifespan of the Trauma Therapist.
Symposium presentation at the 30th Annual Meeting of the International Society for the Study of
Trauma and Dissociation, Baltimore, MD

Hughes, D.M. (November 2011). Conceptualization of Complex Trauma and PTSD in Forensic Matters.
Panel presentation at the 27th Annual Meeting of the International Society of Traumatic Stress
Studies, Baltimore, MD

Hughes, D.M. (August 2011). Assessment of Complex Trauma in a Forensic Setting.
Presentation at the 119th Annual Convention of the American Psychological Association,
Washington, D.C.

Hughes, D.M. (June 2011). What Every Psychologist Needs to Know About Trauma. Workshop
presentation at the New York State Psychological Association Annual Conference, New York, NY

Hughes, D.M. (March 2011). Vicarious Traumatization in Forensic Practice: Why Does It Matter?
Presentation at the American Psychology and Law Annual Conference, Miami, FL

Hughes, D.M. and Rocchio, L.M. (November 2010). Forensic Assessment of Psychological Trauma and
PTSD. Workshop presented at the 26th Annual Meeting of the International Society of Traumatic
Stress Studies, Montreal, Canada

Hughes, D.M. (August 2010). Ethical Dilemmas and Professional Considerations for Working with the Adult
Survivor of Sexual Abuse: Forensic Psychology. Presentation at the 118th Annual Convention of the
American Psychological Association, San Diego, CA

Hughes, D.M., Courtois, C., Walker, L.E., and Vasquez, M. (August 2009). Trauma treatment in
independent practice: Principles and resources. Workshop presented at the 117th Annual Convention of the
American Psychological Association, Toronto, Canada

Hughes, D.M. (August 2008). Difficulties and dilemmas when dissociation is present in forensic cases.
Presentation at the 116th Annual Convention of the American Psychological Association, Boston,
MA

Hughes, D.M. (November 2007). Forensic issues in the assessment of trauma. International Society for
Trauma and Dissociation 24th Annual Conference, Philadelphia, PA
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 30 of 70
                                                                                     Dawn M. Hughes, Ph.D. ABPP
                                                                                                      Page 5 of 7

Hughes, D.M. (November 2000). Multi-method approach to assessment in forensic evaluations. In
A. Pratt (Chair) Forensic assessment and testimony: Psychological trauma. A workshop presentation at the
16th Annual Meeting of the International Society for Traumatic Stress Studies, San Antonio, TX.

Hughes, D.M. (August 1999). Training in interpersonal violence: The next generation. Presentation at the
American Psychological Association Annual Convention, Boston, MA.

Gold, S.N., Hughes, D.M. & Swingle, J. (November 2000). Memory for childhood sexual abuse: A matter
of semantics. Panel presentation at the16th Annual Meeting of the International Society for Traumatic
Stress Studies, San Antonio, TX.

Hughes, D.M. & Gold, S.N. (November 1997). Memory for childhood sexual abuse and adult
symptomatology. Poster session presented at the 13th Annual Meeting of the International Society for
Traumatic Stress Studies, Montreal, Canada.

Hughes, D.M., Cloitre, M., Hand, R., Klein, C., Herwitz, J., Bleiberg, K. & Pessier, J. (November
1997). Role functioning impairment in CSA-related PTSD. In D.M. Hughes (Chair), Role functioning
impairment among women with childhood sexual abuse related PTSD. Symposium presentation at the 13th
Annual Meeting of the International Society for Traumatic Stress Studies, Montreal, Canada.

Cloitre, M., Hughes, D.M. & Hand, R. (November 1997). A two-phase treatment for CSA-related
PTSD: Rationale and preliminary results. In D.M. Hughes (Chair), Role functioning impairment among
women with childhood sexual abuse related PTSD. Symposium presentation at the 13th Annual Meeting of
the International Society for Traumatic Stress Studies, Montreal, Canada.

Klein, C., Hughes, D.M. & Cloitre, M. Ethnocultural considerations in the assessment of PTSD in survivors of
sexual assault. (November 1997). Poster presentation at the Annual Meeting of the Association for
the Advancement of Behavioral Therapy, Miami, FL.

Gold, S.N., Hughes, D.M. & Swingle, J. (July 1995). Degrees of memory of childhood sexual abuse among
female survivors in therapy. Paper presented at the 4th International Family Violence Research
Conference, Durham, NH.

Stear, C.A., Gold, S.N., & Hughes, D.M. (November 1994). Family of origin atmosphere of sexual abuse
survivors, distressed, and non-clinical families. Paper presented at the Illinois Psychological Association
Annual Convention, Chicago, IL.

Gold, S.N., Williamson, C. & Hughes, D.M. (March 1994). Male sexual abuse survivors: Integrating
empirical and clinical findings. Paper presented at the Mid-Winter Convention of APA Divisions 29, 42,
& 43.

Hughes, D.M., Bramson, J., Galper, L., Gelpi, H., Rubenstein, F & Dutton, M.A. (June 1992).
Training in the context of relationships: A model for the family violence clinician. Paper presented at the First
World Congress of the International Society for Traumatic Stress Studies, Amsterdam, The
Netherlands.
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 31 of 70
                                                                                 Dawn M. Hughes, Ph.D. ABPP
                                                                                                  Page 6 of 7

INVITED ADDRESSES

Hughes D.M. (June 8, 2018). Trauma and the Courtroom. Alumni College Speaker. Hamilton College,
Clinton, NY

Hughes, D.M. (February 2, 2018). Domestic Violence 2018: Survivors as Defendants, Respondents, and Parole
or Clemency Applicants. Practicing Law Institute, New York, NY

Hughes, D.M., & Rocchio, L.M. (August 6, 2016). Forensic work with trauma populations. APA
Division 56 – Trauma Psychology suite presentation at the American Psychological Association
Annual Convention. Denver, CO

Hughes, D.M., Courtois, C., & Brown, L. (August 5, 2016). Establishing a clinical practice in trauma
psychology. APA Division 56 – Trauma Psychology suite presentation at the American Psychological
Association Annual Convention. Denver, CO

Hughes, D.M. (September 16, 2015 and October 7, 2015). Interpersonal Violence, Trauma, and the
Courtroom in Understanding the Ties that Bind: Judicial Responses to Domestic and Sexual Violence. Judicial
Training -New York Unified Court System - Domestic Violence Task Force. White Plains and
Rochester, New York.

Dutton, M.A. and Hughes, D.M. (April 13, 2015). Expert Witness Testimony in Cases Involving Domestic
Violence. Webinar conducted for the National Clearinghouse for the Defense of Battered Women.

Hughes, D.M. (September 2012). The Relationship Matters: Maximizing Success. Presentation to
attorneys at Outten and Golden, LLP. New York, NY

Hughes, D.M. (June and August 2012). Promoting Healthy Relationships: Living Without Violence and
Abuse. Training presented to the United States Army National Guard. Fort Hamilton, NY

Hughes, D.M. (July 2011). Remaining Civil with the Uncivil. College of Labor and Employment
Lawyers. EEOC. New York, NY

Hughes, D.M. (March 2011). The Victim of Interpersonal Violence and the Courtroom. Judicial
Commission on Women in the Courts invited Continuing Legal Education seminar. Brooklyn, NY

Hughes, D.M. (November 2010). The Use of Psychological Experts in Cases of Domestic Violence. Invited
Continuing Legal Education seminar presented at the Kings County Criminal Bar Association,
Brooklyn, NY

Hughes, D.M. (July 2010). Ethics and Risk Management in the Practice of Psychotherapy. Invited
presentation at the Women’s Mental Health Consortium Quarterly Meeting, New York, NY

Hughes, D.M. (2009). The victim of interpersonal violence and the courtroom: Strategies for understanding.
Manhattan Integrated Domestic Violence Courts Continuing Legal Education Seminar (February
2009); Appellate Division Fundamental Training Series (May 2009 and January 2010); Queens
County Family Court Continuing Legal Education Seminar (June 2009).
        Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 32 of 70
                                                                                  Dawn M. Hughes, Ph.D. ABPP
                                                                                                   Page 7 of 7

Hughes, D.M. (March 2008). Collision course of children’s wishes, best interests, and domestic violence. Invited
presentation and the Twelfth Annual Conference on Domestic Violence. Fordham Law School,
New York, NY

Hughes, D.M. (March 2007). The inconvenient truths of domestic violence. Invited address at the Eleventh
Annual Conference on Domestic Violence. Fordham Law School, New York, NY

Hughes, D.M. (June 2006). Issues and dilemmas in interpersonal violence. Invited presentation at STEPS
to End Family Violence. New York, NY.

Hughes, D.M. (December 2001). Relevance of domestic violence in the courtroom: Expert testimony in a duress
case. Chairperson of a mock trial continuing education seminar at the 17th Annual Meeting of the
International Society of Traumatic Stress Studies, New Orleans, LA.

Hughes, D.M. (September 2001). Psychological assessment in the aftermath of the World Trade Center disaster.
Emergency meeting of the New York Chapter of the International Society of Traumatic Stress
Studies. New York, NY.

Hughes, D.M. (April 2001). Moving beyond domestic violence 101: Challenges and solutions.
Invited presentation in J. Pearl and S. Herman (Chairs), Violence and the Family: Current legal and mental
health perspectives. Association of the Bar of the City of New York, New York, NY.

Hughes, D.M. (June 2000). Psychological testing in forensic evaluations. Invited presentation in
symposium, M. Dowd (Chair) Psychological evidence in pleas negotiations and sentencing. Association of the
Bar of the City of New York, New York, NY.
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 33 of 70




                          Exhibit C
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 34 of 70




                        Andrew Marshall Petersohn, P.E.
                                       PO Box 165
                               Fairview Village, PA 19409
                                     (610) 304-2024
                                 Andrew@dBmEng.com



Education:

       Lehigh University, Bethlehem, PA
       Master of Engineering, Electrical Engineering, May 2005
       Bachelor of Science, Electrical Engineering, May 1999

Professional Associations:
       Registered Professional Engineer
       Pennsylvania License number 073239
       Maryland License number 32840
       Delaware License number 14438
       Virginia License number 042672
       New York License number 084382
       New Jersey License number GE49376
       Florida License number 84819

       Member of the National Society of Professional Engineers
       Member of the Pennsylvania Society of Professional Engineers

Related Experience:
       Principal Engineer, dBm Engineering, P.C., Fairview Village, PA
       January 2006 – Present
       Senior Engineer II, Wireless Facilities Incorporated, King of Prussia, PA
       January 2004 – January 2006
       Radio Frequency Engineer, Nextel Communications, Bensalem, PA
       October 2001 – January 2004
       Wireless Consultant, Millennium Engineering, P.C., Conshohocken, PA
       May 2001 – October 2001
       Member of Technical Staff, Wireless Microsystems, Reading, PA
       June 2000 – May 2001
       Systems Engineer, Raytheon N&MIS, Portsmouth, RI
       July 1999 – June 2000
       Radio Frequency Design Co-Op, Verizon Wireless, Plymouth Meeting, PA
       October 1997 – April, 1999

_____________________________________________________________________________________
PO Box 165
Fairview Village, PA 19409
info@dBmEng.com
Phone: 610.304.2024
Fax: 610.584.5387
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 35 of 70




                          Exhibit D
      Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 36 of 70




                    Curriculum Vitae of Richard C. Pleus, PhD, MS
FIELDS OF EXPERTISE
   General Toxicology, Pharmacology, Toxicological Risk Assessment: Neurological;
   Endocrinological; Respiratory; Reproductive; Developmental; Aerospace Toxicology

EDUCATION
   Postdoctoral training, University of Nebraska Medical Center, 1992, Neuropharmacology
   Ph.D., University of Minnesota, 1991, Environmental Toxicology. Research conducted in the
   Department of Pharmacology. Dissertation title: Neurobehavioral assessment in offspring of
   the influence of maternal hypoxia and hypercapnia induced by injection of methadone in
   pregnant rats
   M.S., University of Minnesota, 1983, Environmental Health
   B.S., Michigan State University, 1977, Physiology, Honors Graduate

CURRENT AND PREVIOUS POSITIONS
   Founder and Managing Director, Intertox, Inc., Seattle, WA (1995 – present)
   Co-Founder, Intertox Decision Sciences, Inc., Seattle, WA (2009– 2015)
   Adjunct Associate Professor, University of Nebraska Medical Center, Department of
   Pharmacology, Omaha, NE (1999 – 2014)
   Adjunct Associate Professor, University of Nebraska, Center for Environmental Toxicology,
   Omaha, NE (2002 – 2012)
   President, Environmental Toxicology International, Inc., Seattle, WA (1993 – 1995)
   Vice President, Marketing & Communications, Environmental Toxicology International, Inc.,
   Seattle, WA (1993)
   Senior Toxicologist, Environmental Toxicology International, Inc., Seattle, WA (1992 – 1993)
   Community Faculty, Minnesota State University, St. Paul, MN (1989 – 1996; taught courses in
   physiological psychology and psychopharmacology)
   Research Associate, Department of Pharmacology, College of Medicine, University of Nebraska
   Medical Center, Omaha, NE (1989 – 1992)
   Instructor, General College, University of Minnesota, Minneapolis, MN (1985 – 1989)
   Research Assistant, Department of Pharmacology, Medical School, University of Minnesota,
   Minneapolis, MN (1985 – 1989)
   Instructor, Lowthian College, Minneapolis, MN (1983 – 1985)
   Instructor, Department of Continuing Education and Extension, University of Minnesota,
   Minneapolis, MN (1979 – 1983; taught courses on toxicology of cosmetic products and
   physiological factors contributing to accident susceptibility




                                       Pleus - 1
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 37 of 70



    SELECT PROJECT EXPERIENCE
AEROSPACE
•   Member of the aerospace medical team conducting a Root Cause Corrective Action (RCCA) for
    the US Navy (NavAir) for Physiologic Episodes (PE) for aircrew of the F/A-18A, F/A-18G and
    T-45. As one of two toxicologists on the team, reviewed possible chemical exposures to pilots
    and their potential contribution to PEs. The exposure route of concern was inhalation.
    Respiratory and neurologic systems were critical organ systems of evaluation.
•   Led the Intertox team in toxicological assessments for above wing employees (e.g., aircrew) for
    two airlines. Evaluated laboratory data, as well as designed and conducted testing of uniforms
    for over 400 chemicals. The exposure route was absorption via the skin or by inhalation.
    Respiratory and skin were critical organ systems of evaluation.
•   Conducted a toxicological assessment of data from the Bleed Air Extraction and Sampling
    System (BAESS) in a joint experiment with the US Air Force, NASA, and the Boeing
    Company. This system simulated the ventilation of commercial aircraft. Jet oil was injected into
    the engine of a USAF C-17 Globemaster III, and samples of air were pulled from ports along
    the length of the ventilation system. Assessed over 45 chemicals at a sample location
    comparable to where aircrew and passengers would be exposed. The exposure route was
    inhalation, and the health assessment of interest was the respiratory and neurological systems.
•   Conducted a toxicity assessment of a composite for passenger aircraft and of laboratory testing
    data for certification of a new passenger aircraft. The toxicological assessment evaluated short
    term (acute) toxic hazards of gaseous combustion products relating to human survivability in an
    aircraft cabin fire. The assessment was conducted using US Federal Aviation Agency report
    DOT/FAA/AR-95 guidance and submitted to an international authority.
•   Conducted an exposure assessment of airborne nanoparticles to aerospace workers. Nano-sized
    particles are thought be released from sanding or grinding of composite materials containing
    carbon nanotubules. Exposure routes were absorption via skin, inhalation, or ingestion. The
    evaluation focused on health effects of the respiratory system.
•   Conducted over 45 toxicological assessments of human exposure to the combustion of jet oil
    and hydraulic fluid in commercial aircraft. Chemicals evaluated were a group of
    organophosphates that included tricresyl phosphate isomers, tributyl phosphate; and by-products
    of combustion. The triggering events were foul odors. The exposure route was inhalation, and
    the health assessment of interest was for the respiratory and neurological systems.
AIR
•   Designed and monitored a developmental study for airborne cellulose insulation treated with
    boron (e.g., boric acid). Pregnant rats were administered four doses during gestation. The
    results of the experiment produced a NOAEL that can be used to develop acceptable exposures
    for women workers or women residing in environments where cellulose insulation is used as
    insulation or acoustic attenuation. The exposure route was inhalation, and the health assessment
    of interest was reproductive and fetal developmental effects.
•   Conducted toxicological assessment for clean-up of lead and arsenic contaminated soil from
    smelter operating in the 1900s. Conducted historical toxicological research on articles and
    records dating back to the 1700s. Assessed what was known and when regarding the toxicology
    of lead (Pb) and arsenic (As) for all body systems and all exposure pathways for both human and
    ecological endpoints.
•   Assessed human health risk from gases released from a landfill. Triggering events for residents
    were from foul odors. Laboratory data was obtained and carbon disulfide, formaldehyde, and
                                         Pleus - 2
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 38 of 70



    hydrogen sulfide were identified as the chemicals being released. Route of exposure was
    inhalation. Cancer and non-cancer endpoints were assessed, with a focus on nervous system for
    non-cancer effects.
•   Conducted a toxicological assessment for human exposure to chloroform and hydrogen sulfide.
    These chemicals were released as gases from the wastewater treatment system of a pulp and
    paper mill. Exposures to residents were via inhalation. Cancer and non-cancer effects were
    assessed with non-cancer effects focused on the respiratory and neurological systems.
•   Assessed adverse health consequences to an off-site neighborhood resident from an accidental
    release of chlorine gas from a manufacturing plant. Exposure was via inhalation. Toxicological
    assessment was focused on the respiratory system. Assessed cancer and non-cancer endpoints.
•   Assessed human health risks related to emissions from a composting facility to nearby
    community. Followed US EPA guidelines for the assessment. Triggering events were foul odors
    releases. Exposure was via inhalation. Developed a monitoring program to measure 23 reduced
    sulfurs, volatile organic compounds, and ammonia. Toxicological assessment consisted of all
    organ systems, with eventual focus on nervous system. Assessed non-cancer endpoints.
•   Conducted toxicological evaluation of sewer gases and their impact to community health.
    Evaluated over 60 chemicals produced from degradation of plant, animal, and human wastes. All
    organ systems were evaluated with focus eventual focus on risk from adverse effects to the
    nervous system. The exposure to these gases was via inhalation.
•   Conducted over 30 human and ecological health risk assessments of cement kilns. Chemicals of
    concern included metals (including As, Cu, Cr, Cd, Zn, Pb, Hg, Ni, Zn), dioxins, furans, and
    polyaromatic hydrocarbons (PAHs), nitrogen oxides, sulfur oxides, and many other EPA-
    identified hazardous air pollutants. Depending on the case, assessments focused on specific
    endpoints, such as neuroanatomical effects, and on vulnerable subpopulations, such as the
    developing fetuses of local pregnant women. Assessments included review of laboratory data,
    review of toxicological and medical literature, and review of medical records. Considered routes
    of exposure included direct exposure from inhalation and multipathway exposures from oral and
    dermal exposures. US EPA guidelines for assessments were used. Cancer, non-cancer, and
    ecological endpoints were assessed.
•   Conducted a toxicological assessment to residents living nearby a lead smelting and refining
    operation. Chemicals of concern were lead and arsenic. Considered multipathway exposure, but
    eventually focused on inhalation and ingestion as major routes. Evaluation consisted of assessing
    laboratory data, review of the toxicological literature, and included information derived from
    government agencies. US EPA guidelines were used as a basis for the evaluation. All body
    systems were evaluated.
•   Evaluated a risk assessment for carcinogenic polycyclic aromatic hydrocarbons for a coal
    burning power plant. Focus was eventually narrowed to assessing a system of toxic equivalency
    factors based on non-validated assumptions. US EPA guidelines were used as a basis of the
    assessment. Exposures were considered multipathway. Cancer and non-cancer endpoints were
    assessed.
•   Conducted human health risk assessment from emissions of a thermoplastic extrusion plant.
    Assessed laboratory data, air dispersion modeling, and calculated estimates of hazards for
    acute exposures to residents living near the facility. Used US EPA guidelines as a basis for the
    evaluation. Chemicals evaluated included acrolein, 1,3-butadiene, 4-vinylcyclohexane, styrene,
    and triphenylphosphate. The exposure was via inhalation. Cancer and non-cancer endpoints for
    all body systems were considered.


                                          Pleus - 3
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 39 of 70



•   Assessed human health risk of workers in a facility that was being built to decommission
    chemical warfare agents. Evaluated human acute exposures to sarin and mustard gases. Route
    of exposure was inhalation. Compared and contrasted reported health effects from acute
    exposures to health effects reported to those published in the toxicological literature. Thirteen
    non-cancer endpoints, with a focus on the nervous system, were assessed.
•   Evaluated human health risks to residents living near an accidental chemical release and
    subsequent fire from rail cars filled with chlorine and methyl mercaptan. Route of exposure was
    via inhalation of parent chemical agents and work included assessing the human health risk from
    byproducts of pyrolysis. Non-cancer endpoints were assessed.
•   Evaluated human health risks from exposure to stack emissions from a proposed fluidized bed
    incinerator. Air dispersion monitoring was used to estimate air concentrations at critical receptors
    at nearby neighborhoods. Followed US EPA guidelines for the assessment. Toxicological
    assessment was conducted for metals (As, Cr, Cd, Pb, Hg, Ni), dioxins, furans, polyaromatic
    cyclic hydrocarbons, nitrogen oxides, sulfur oxides, and other US EPA identified hazardous air
    pollutants. Reviewed potential effects for all body systems for cancer and non-cancer endpoints.
    The results of this toxicological assessment was presented to the community.
•   Conducted a review of a state’s proposal for biological monitoring of residents and their pets
    residing in a town that built and operates a hazardous waste incinerator. Followed US EPA
    guidelines for the assessment. Assessed the reliability and accuracy of bio-monitoring parameters
    relative to chemicals of potential concern. Exposure route was inhalation. Non-cancer endpoints
    assessed.
•   Conducted toxicological assessment of multiple emission sources within an industrial park in the
    Bahamas to nearby residents. Oil terminals, pharmaceutical plants, power plants, and chemical
    plants operated in the park. Conducted extensive emissions inventories and source evaluation
    surveys to gather data to assess individual contributions and cumulative effects of emissions.
    Toxicological assessment consisted of all organ systems. Cancer and non-cancer endpoints were
    assessed.
•   Conducted multiple human health risk assessments for a number of different facilities in a US
    state. Facilities included a newly designed bus manufacturing plant and several beet processing
    plants. These were the first air screening risk assessments conducted by this state. Conducted
    toxicological review of nearly a 100 chemicals, including metals (As, Cr, Cu, Cd, Pb, Hg, Ni,
    Zn) emitted from each facility. Assessed oral, dermal and inhalation routes of exposures through
    multipathway analysis. Cancer and non-cancer endpoints were evaluated.
•   Reviewed multipathway human health risk assessment for a medical waste facility for the 173
    acre Chris Hani Baragwanath Academic Hospital, in Soweto, South Africa. Chemicals evaluated
    included metals (As, Cr, Cu, Cd, Pb, Hg, Ni, Zn), dioxin, furans and polycyclic aromatic
    hydrocarbons. Exposure was evaluated for residents living nearby. Cancer and non-cancer
    endpoints were assessed.
•   Conducted human health risk assessments for emissions from several coal-fired electric
    generating stations in Texas, Illinois, Massachusetts, Michigan, and Washington. Followed US
    EPA and pertinent state guidelines for the assessments. The evaluations included metals (As, Cr,
    Cd, Pb, Hg, Ni), dioxins, and furans, and polyaromatic hydrocarbons, which became newly
    reportable under the US EPA’s Toxic Release Inventory (TRI) program. Toxicological
    assessment was conducted for other additional metals. Exposure was via inhalation. For some
    facilities, potential risks through oral, inhalation, and dermal pathways were assessed. Evaluated
    all organ systems for cancer, non-cancer, and ecological endpoints.


                                           Pleus - 4
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 40 of 70



•   Conducted a toxicological assessment of human health risks from lead deposited in agricultural
    soil. Lead was released from the operation of a steel manufacturing plant. Assessment used the
    US EPA Uptake/Biokinetic Model for Lead to evaluate human exposure. Environmental fate was
    followed through the food chain from soil to human food sources. A review of the literature was
    conducted. Route of exposure was primarily ingestion. Non-cancer endpoints were assessed with
    the focus on nervous system risks.
POLICY AND LEGISLATION
•   Briefed Costa Rican governmental and private representatives on the principles that underlie the
    toxicological assessment of nanotechnology. Included in the briefing were the Minister of
    Science and Technology, the Vice minister of Science and Technology, President of Instituto
    Tecnológico de Costa Rica, and the Vice president of Research at the Instituto Tecnológico de
    Costa Rica.
•   Participated in technical discussions with several members of the European Parliament, in
    Brussels, Belgium, on developing appropriate scientifically based regulations to prevent adverse
    health effects from burning hazardous waste in cement kilns.
•   Participated in technical discussions with South African governmental and private industry
    representatives on land, water, and air legislation, and the benefits of science and risk-based
    environmental legislation.
PHARMACEUTICALS
•   Conducted numerous toxicological assessments for ethanol as an agent of interest in legal
    proceedings. Tasks included reviewing case documents and testimony for relevant information
    regarding potential ethanol exposure, developing physiologically-based pharmacokinetic models
    to scientifically estimate the potential degree of alcohol intoxication during relevant events, and
    drafting expert reports or providing testimony based upon the above analysis.
•   Provided a toxicological assessment for over 30 toxicological assessments related to the testing
    and evaluation of biologic tissue (e.g., urine, hair, serum) samples for concerns of drug
    exposure, including ethanol, methamphetamine, benzoylecgonine, phencyclidine, nortriptyline,
    and amphetamine. Tasks included evaluations of test results for indications of adulterants or
    dilution, assessing methodological techniques, and determining the toxicological impacts and the
    signs and symptoms that might be associated with the levels of drugs detected. Routes of exposure
    where inhalation and ingestion. Research also focused on genetic determinants of nervous system
    affects, although other endpoints were included.
•   Conducted numerous toxicological assessments for opiate and opioid narcotic analgesic agents
    as a possible cause of death. Assessments included analyzing laboratory data, medical records,
    and medical literature analyses. Routes of exposure was ingestion. Toxicological assessment
    focused on the neurological system that included respiratory and psychological effects.
•   Conducted a toxicological assessment for an antibiotic agent as a possible cause of death.
    Assessments included analyzing laboratory data, medical records, and medical literature
    analyses. Toxicological assessment focused on numerous body organs.
PRODUCT SAFETY
•   Conducted product safety assessments of bacteria for human health safety. Specific organisms
    are used in preserving fruit, de-nitrification of surface water, and improving water quality in
    swimming pools. Conducted microbiological risk assessments for human health effects as well as
    providing scientific documents to international governmental authorities.


                                           Pleus - 5
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 41 of 70



•   Conducted product safety assessment for laser printing device. Assessed the materials used in
    the cutting process and the fumes from the process of cutting. Evaluated the emissions related to
    possible human health effects for acute and chronic exposures.
•   Conducted a scientific assessment for fungus for a toy distributed to the US, Europe and Asia.
    Laboratory tests were conducted, biological assessment was conducted, and an approach to
    possible disposal was developed to address possible disposal options. Assisted in developing
    forensic analysis to determine the cause of the mold. Evaluated acute and subchronic exposures
    from contact with skin and breathing spores.
•   Conducted toxicological assessment for consumer-used ink products for Japanese manufacturer.
    Assessed human health risk using American Society for Testing and Materials (ASTM)
    standards. Over 50 chemicals were evaluated for various oral, dermal, and inhalation routes of
    exposure. Toxicological assessment for all body systems, and included cancer and non-cancer
    endpoints.
•   Conducted a toxicological assessment of human exposure to chemicals found in a cell-phone and
    its packaging. Employees were exposed to unknown chemicals and subsequently reported acute
    health effects. Developed a testing program to determine chemicals of potential concern.
    Identified a number of solvents and assessed toxicological effects from exposure via inhalation
    and dermal contact. Developed a forensic program to evaluate source. Acute non-cancer
    endpoints evaluated.
•   Conducted a toxicological assessment to human health from several volatile organic compounds,
    silane, and siloxane released from weather treating products. Route of exposure was inhalation
    and population of concern included children. Non-cancer endpoints were assessed and focused on
    the nervous and respiratory systems.
•   Conducted a toxicological assessment of multiple chemical cleaning solutions and carbon
    monoxide on reproductive effects. Exposure to pregnant woman occurred while visiting a
    commercial art store. Exposure was via inhalation. Toxicological assessment focused on
    reproductive and neurological systems. Research also focused on genetic determinants of nervous
    system affects.
•   Conducted human and ecological risk assessment of ethylene vinyl alcohol, a chemical used to
    make shipping packaging “peanuts.” Reviewed laboratory data, the toxicological literature, and
    the use and fate of the material as a consumer product. Endpoints of evaluation were human and
    ecological receptors. US EPA guidelines were used as a basis of the evaluation. For human
    exposure, cancer and non-cancer endpoints were assessed.
•   Conducted a toxicological assessment of a consumer product, an ink-pen barrel which was
    constructed of pressed recycled rubber-tire. Reviewed laboratory data and conducted a review of
    the toxicological literature. Used US EPA risk assessment guidelines as a basis for assessment.
    Chemicals evaluated included metals (As, Cr, Cd, Pb, Hg, Ni) and organic hydrocarbons. Cancer
    and non-cancer endpoints for all body systems were considered.
•   Prepared a human health risk assessment of occupational exposures to cellulose insulation.
    Conducted a review of the toxicological literature of paper dust, wood dust, and chemicals found
    in newsprint. Assessed the exposure from inhalation to paper and wood dusts. Evaluated cancer
    and non-cancer endpoints.
•   Conducted toxicological, human, and ecological risk assessment of a variety of herbicides used
    by WA State’s Department of Transportation for use on state roadways. Assessed human and
    ecological health risk associated with roadside vegetation management practice. Multipathway
    exposures were conducted and included the evaluation of sensitive human and ecological
    populations. Cancer and non-cancer endpoints were assessed.
                                           Pleus - 6
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 42 of 70



•   Conducted toxicological assessment of a consumer-related use of a product for cleaning outdoor
    camping equipment. The chemicals evaluated were ethylenediaminetetraacetic acid (EDTA),
    sodium hydroxide, nonylphenol polyethylene glycol ether, and dipropylene glycol monomethyl
    ether. The concern was the adverse impact of these chemicals on the non-cancer endpoints of the
    nervous system, particularly the eye.
•   Conducted a toxicological assessment of fog-oil released from a military training facility. Fog-oil
    is used as a chemical obscurant in training exercises. Fog-oil migrated off-base into residential
    neighborhoods. Benzene and a number of other volatile organic compounds were evaluated
    toxicologically via inhalation exposure. Evaluation focused on cancer and non-cancer
    hematological effects.
•   Conducted toxicological assessment on human health risks from of cellulose insulation
    containing ammonium sulfate-based flame retardant. Exposure was via inhalation. Developed a
    single-compartment, first-order model to describe the environmental fate and transport of
    ammonia in a residential setting. Used US EPA guidelines for the evaluation. Cancer and non-
    cancer endpoints were considered. Also, the production of foul odor was evaluated.
•   Conducted toxicological evaluation of boron (B)-containing pesticide. All organ systems were
    evaluated. Exposures were ingestion, dermal, and via inhalation. Conducted exposure
    assessment with a university laboratory as a part of the assessment. Eventually focused on the
    reproductive effects of boron pesticide. All information was forwarded to the State of
    California for review and assessment of the data. Cancer and non-cancer endpoints were
    considered.
WORKPLACE
•   Developed medical monitoring protocol for governmental client. The chemical of concern was
    mercury, including the various species of inorganic and organic mercury. The key objective of
    the Mercury Medical Monitoring Program was to protect employees who may be exposed to
    elemental or organic mercury (Hg) during maintenance, construction, and remediation tasks.
    Cancer and non-cancer endpoints were considered.
•   Assessed several cases where employees were suspected of using recreational drugs. We
    reviewed drug testing data and performed physiologically based pharmacokinetic (PBPK)
    modeling when needed. The cases involved different families of drugs including opiates,
    ethanol, and cannabinoids. Most exposure routes were oral and included injection and
    inhalation.
•   Assessed risk to human health of workers exposed to chemicals from the re-entrainment of
    exhaust air in a pharmaceutical research laboratory. Exposure was via inhalation. Odors were
    detected and were the triggering event at the workplace. Chemicals were identified and estimated
    concentrations calculated. Toxicological assessment included all body systems, with eventual
    focus on reproductive and nervous systems. Non-cancer endpoints assessed.
•   Assessed health effects of a worker exposed to fumes asphalt roofing and solvent-based and
    latex paints. Exposures were via inhalation and dermal routes. Numerous non-cancer endpoints
    were assessed.
•   Conducted toxicological assessment for workers exposed to trichloroethylene (TCE). Conducted
    evaluation of the literature and laboratory data from the facility. TCE was used extensively in the
    facility as a degreaser and all routes of exposure were assessed. However, assessment eventually
    focused on risks for the development of neurobehavioral effects to offspring of women exposed
    to TCE from ingestion of drinking water as that was deemed the most sensitive endpoint.
    Evaluated the use of medical monitoring for this population.

                                          Pleus - 7
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 43 of 70



•   Conducted a toxicological assessment to human health from exposure to perchloroethylene (PCE,
    or tetrachloroethylene) from contaminated ground water. Evaluated ingestion and dermal contact
    with water and inhalation of volatiles during showering or bathing. Toxicological assessment
    included general toxicology and focused on the nervous system.
•   Conducted toxicological evaluation of a worker to exposure to beryllium (Be) and polonium (Po)
    dust and residue. Evaluated exposures via inhalation, dermal, and to a lesser degree oral from
    dust. Cancer and non-cancer endpoints assessed.

•   Conducted toxicological assessments related to the waste from production of plutonium (Pu) at
    the Hanford Reservation in eastern Washington, for the US DOE site contractor. We conducted
    toxicological assessments for chemicals present in underground storage tanks, including metals
    and organic compounds. This included developing Temporary Emergency Exposure Limits
    (TEELs) and other toxicity guidelines for worker exposure that were peer reviewed by Argonne
    National Laboratories, evaluating exposures to workers related to potential accident scenarios,
    and developing computer visualization tools to assist workers with understanding the significance
    of detected chemical concentrations.
SOIL
•   Conducted field research on workers in wood treatment facilities to copper chromium arsenate
    (CCA), formerly used as a wood preservative. Airborne exposures to hexavalent chromium (Cr
    VI) and arsenic (As) were of primary focus. Data was submitted to US EPA. New technique for
    detecting lower quantities was developed. Route of exposure was primarily via inhalation.
    Cancer and non-cancer endpoints were assessed.
•   Conducted a comprehensive risk assessment addressing human health risks related to dioxins and
    polyaromatic hydrocarbons (PAHs) in soil at a wood treating facility listed by US EPA as a
    Superfund site. Followed US EPA guidelines for the assessment. Exposure assessment was
    multipathway and included exposures to workers and residents living near the facility. Conducted
    a probabilistic risk assessment to characterize uncertainty and variability in worker exposures and
    identify parameters contributing most significantly to uncertainty in risk estimates. Developed
    site-specific parameter distributions, and characterized current scientific knowledge of the
    bioavailability of dioxins and PAHs in soil. Work was submitted to US EPA. Cancer and non-
    cancer endpoints assessed.
•   Conducted human and ecological risk assessment from the effects copper slag leachates.
    Reviewed laboratory data, conducted toxicological literature review on human and ecological
    receptors. Evaluated arsenic (As), copper (Cu), cadmium (Cd), and zinc (Zn). US EPA and
    Washington state guidelines were used as basis for this assessment. For human exposures, cancer
    and non-cancer endpoints were considered.
WATER
•   Reviewed and assessed the toxicity of multiple perfluorinated chemicals, including
    perfluorooctnoate (PFOA) and perfluooctosulfonate (PFOS). Assessed the current state of
    toxicological knowledge, evaluated guideline levels of state and federal government. Issues of
    concern included assessment of the appropriateness of extrapolating from other species, the use
    of safety factors, and co-exposure to other chemicals. Cancer and non-cancer endpoints
    assessed.
•   Was a scientific expert input to a Court developed science panel (C-8 Science Panel) on
    behalf of legal settlement (PFOA was the chemical of concern) in West Virginia. The panel
    was made up of independent scientists jointly chosen by the plaintiff and defense as a
    component of a legal settlement. My work was focused on identifying laboratory to conduct
                                          Pleus - 8
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 44 of 70



    biological analysis as well as experimental design for medical testing. Exposure to PFOA
    was from drinking water exposure that includes oral, respiratory (e.g., showering), and skin
    routes.
•   Conducted a human health risk assessment for city in the State of Washington. We conducted a
    toxicological evaluation to estimate the possible human health risks associated with exposure to
    polychlorinated biphenyls (PCBs) and other chemicals from building materials at the former
    water treatment plant. Focused on cancer and non-cancer endpoints.
•   Conducted an evaluation of non-standard neuropsychological tests as a means to demonstrate
    adverse effects to chemical exposure. Chemicals evaluated were perchlorate and a number of
    petroleum chlorinated solvents (e.g., TCE, PCE) in ground water. Routes of exposure were via
    oral and inhalation. Non-cancer endpoints evaluated with focus on the nervous system.
•   Evaluated over 50 chemicals of potential human health and ecological consequences of
    exposure to Endocrine Disruption Chemicals (EDCs) and pharmaceuticals and personal care
    products (PPCPs) in reuse water for a large reuse water management agency. Identified
    contaminants of greatest concern based on likelihood of occurrence and resistance to treatment
    processes used at various facilities as well as potential for environmental exposure and health
    effects. Exposure routes of concern include drinking, breathing from aerosols from showering,
    and skin contact from bathing. Communicated the potential risks to the public and to regulators.
•   Assisted in the evaluation and identification of sources of contamination for a screening-level
    ecotoxicologic assessment of select chemicals of potential concern (COPCs). Analysis
    concluded that sampling locations were associated with several COPCs exceeding their level of
    concern (LOC) for water. Further evaluation indicated that the relationship between sediment,
    water, and animal tissue was not always synchronous, COPCs with identified benchmarks
    should be evaluated, and LOCs not likely to pose a risk should be identified appropriately.
    Ecological endpoints were assessed. COPCs including organics (chlorpyrifos,
    hexachlorobenzene, organochlorine pesticides, pentachloroanisole, pentachorobenzene, PCBs,
    and tetrachlorobenzene) and inorganics (Al, Sb, As, Ba, Be, B, Cd, Cr, Cu, Fe, Pb, Mg, Mn,
    Hg, Mo, Ni, Se, Sr, Ti, V, and Zn) were analyzed and assessed in water, sediment, fish, and bird
    eggs.
•   Assisted in a toxicological assessment of human health risk from ingestion drinking water
    containing trace amounts of personal care products, endocrine disrupting chemicals (EDCs) and
    pharmaceuticals in drinking water. Both cancer and non-cancer endpoints were assessed. Non-
    cancer endpoints included nervous system, endocrine system, reproductive system, and immune
    system. Ecological endpoints were examined.
•   Conducted scientific assessment of the human health risk for exposure to perchlorate. Followed
    US EPA guidelines for the human health assessment. Addressed multipathway exposures to
    perchlorate that also included exposures to sensitive populations, such as pregnant women, and
    ecological endpoints. Provided scientific comments to US EPA’s development of a reference
    dose, as well as to the State of California regarding the development of a Public Health Goal and
    proposed Proposition 65 listing. Cancer and non-cancer endpoints assessed.

•   Conducted a review of a state’s proposal for biological monitoring of residents and their fluoride.
    This assessment also considered human exposures from metals, found as a contaminants of
    sodium hexafluorosilicate or hexafluorosilicic acid. Evaluated ingestion of fluoride in sensitive
    human populations, including the elderly and children. Both cancer and non-cancer endpoints
    evaluated.
•   Conducted toxicological assessment for health risk from drinking water. Chemicals evaluated
    included perchlorate, TCE, and N-nitrosodidimethylamine (NDMA). Assessment consisted of
                                         Pleus - 9
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 45 of 70



    evaluating laboratory data, modeling data, toxicological literature, medical literature, and medical
    records. The major route of exposure was ingestion, however, dermal and inhalation routes were
    also reviewed.
•   Conducted toxicological evaluation of human health related to fluoride. Water fluoridation is the
    practice of adding fluoride compounds to water with the intended purpose of reducing tooth
    decay in the general population. Conducted a review of the toxicological and medical literature in
    addition to US and European governmental assessments of fluoridation. The major route of
    exposure was ingestion, however, dermal and inhalation routes were also reviewed.
•   Conducted toxicological assessment of the risk of oral exposure to lead to children via drinking
    water from Seattle Public Schools. Used physiologically based pharmacokinetic modeling to
    develop blood lead estimates for children of different ages. Non-cancer endpoints were
    focused on neurodevelopmental affects.
•   Conducted a toxicological assessment related to oral exposures of ground water contaminated
    with low levels of perchlorate to residents of a community. Toxicological assessment considered
    possible doses, exposures via dermal, ingestion, and inhalation (e.g., taking a shower). Evaluated
    sensitive populations that included the pregnant woman and children.
BIOLOGICAL RISK ASSESSMENT
•   Developed and conducted an independent sampling program to test certain building materials for
    the presence of fungal spores and/or hyphal fragments that might indicate current fungal growth
    or the possibility of fungal growth in the future. Analyses included both direct microscopy for
    identification of any fungal spores to the genus level and culture of viable samples on appropriate
    nutrient media.
•   Assisted in the evaluation of a proposed Concentrated Animal Feeding Operation (CAFO)
    facility for potential human health and ecological impacts from possible facility releases for both
    human and ecological endpoints. The facility was intended for closed loop operation and
    designed to prepare 20,000 head of cattle for market. Chemicals of concern included hormones,
    antibiotics, and pesticides. Pathogens were also assessed. This unique CAFO design comprised
    of the following operating units: beef facility, ethanol producing facility, combined heat and
    power facility, nutrient separator, greenhouse facility, water treatment facility, fluidized bed
    reactor, and composing facility.
•   Provided scientific support for numerous commercial and residential indoor air quality claims
    concerning alleged adverse health effects due to exposures to microbiological agents. Critically
    evaluated laboratory data, the method of collection and analysis, medical records, and
    toxicological literature regarding exposure to fungal toxins in indoor air and their potential for
    causing long-term adverse health effects. Also included in some assessments was the release of
    volatile organic compounds from fungi. Assessed validity and reliability of information on the
    nature and extent of exposure, interpreted receptor health status, evaluated toxicological basis for
    health complaints, and identified potential sources of confounding causality. Many organisms
    have been evaluated, however, most commonly evaluated are Aspergillus, Penicillium and
    Stachybotrys.

•   Conducted biological assessment of workers exposed to bioaerosols, a conditioning agent used to
    dewater sludge (CLARIFLOC® C-9525 POLYMER), and particulates from an advanced
    wastewater treatment plant. Evaluated the chemical and biological constituents of dewatered
    sludge. Reviewed laboratory data, conducted microbial, viral, and chemical literature review, and
    conducted site assessments. Route of exposures were inhalation and ingestion. Non-cancer
    endpoints were assessed. A review of employee protection was also conducted. Conducted an
    anthrax investigation at a military mail facility. Developed and implemented a sampling and
                                           Pleus - 10
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 46 of 70



    analysis program to determine whether Bacillus anthracis (anthrax) organisms could be detected.
    The biological assessment included a review of the microbiological literature; development of
    state-of-the-science sampling approach; refining a work plan to address site-specific elements;
    preparation of work plan; collection of samples; coordination of laboratory analysis;
    interpretation of results; and preparation of final project documentation and results reporting.
•   Conducted biological assessment of residents exposed to Salmonella and E. coli emanating as
    bioaerosols from a cattle feedlot. Reviewed laboratory data, conducted microbial, viral, and
    chemical literature review, and conducted site assessments. Route of exposures were inhalation
    and ingestion. Non-cancer endpoints were assessed. Prepared a work plan to assess the adverse
    health effects related to microbial contamination of a potable private well-water supply. Work
    plan included examination of exposure events, identification of microbial agents of concern
    (MAOC), and identification of possible health effects associated with direct and indirect contact
    with MAOCs detected in sewage.
•   Evaluated the performance of immunoassay biological agent detection instrumentation for an
    instrument developer. Conducted independent tests to determine the minimum level of spore
    delectability of two specific instruments for viable anthrax spore vaccine and Bacillus
    thuringiensis.
PESTICIDES
•   Assisted with toxicological assessment of human exposure to an herbicide, acrolein, a pungent
    chemical used in urban settings to control weeds in public water systems. Odor is likely a human
    trigger to the presence of this chemical. Routes of exposure included inhalation, ingestion (from
    water and fish) and dermal exposure (from swimming). Toxicological assessment consisted of a
    review of the toxicological literature, evaluation of communities, and assessment of accident
    scenarios. Non-cancer endpoints were assessed.
•   Managed a human and ecological risk assessment project for a state Department of
    Transportation agency. The purpose of the project was to estimate the potential human health
    and ecological risks associated with agency use of herbicides for roadside vegetation
    management. The evaluation addressed the general public and workers applying herbicides.
    Produced a risk assessment report and made herbicide risk management recommendations to the
    client.
•   Conducted a toxicological assessment for Malathion (pesticide) exposure on human health.
    Assessment included analyzing laboratory data, medical records, and medical literature analyses.
    Non-cancer endpoints evaluated, with eventual focus on the nervous system.
•   Conducted a toxicological assessment of human exposure to a chemical intermediate used in the
    production of carbamate pesticides. Worker exposures were assessed for inhalation of
    intermediate compounds. Conducted toxicological assessment of the literature and prepared a
    toxicology profile for the chemical. The work was submitted to the US EPA. A surrogate
    reference dose was developed and presented for information purposes. Toxicological assessment
    of all body systems was conducted for cancer and non-cancer endpoints.
•   Conducted a toxicological evaluation of pesticides and their combustion by-products to residents
    living nearby a pesticide warehouse. Chemicals evaluated pesticides (e.g., organophosphates) and
    herbicides (e.g., glyphosate). Toxicological assessment considered all organ systems, however,
    assessment eventually focused on the nervous system.
•   Conducted a toxicological assessment related to a consumer from the use of indoor pesticides.
    Pesticides contained boron, which was the chemical evaluated. Exposure was predominately via
    inhalation. All organ systems were considered for non-cancer endpoints.

                                          Pleus - 11
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 47 of 70



EXPERT PEER REVIEW PANELS
•   2018-2019 Aerospace medicine, physiology, and toxicology clinical review team for the US
    Navy (NavAir) Root Cause Corrective Action (RCCA) for Physiological Episodes (PEs) for
    pilots of F/A-18H and G models and T-45.
•   2010-2012 Science Advisor for the Nanosafety Consortium for Carbon, Washington, D.C.
•   2004-present Ad Hoc Science Review Board Member of the US Environmental Protection
    Agency (US EPA) Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) Scientific
    Advisory Panel.
•   2009 US Environmental Protection Agency (US EPA) Nanomaterial Case Studies Workshop:
    Developing a Comprehensive Environmental Assessment Research Strategy for Nanoscale
    Titanium Dioxide, Durham, NC, September 29 and 30.
•   2009 US Environmental Protection Agency (US EPA) - External Peer Review Panel of the
    Toxicological Review of Nitrobenzene (CAS No. 98-95-3), In Support of Summary Information
    on the Integrated Risk Information System (IRIS), published January 2009.
•   2009 Expert Peer Panel of Tertiary-Butyl Acetate (TBAC), Toxicology Excellence for Risk
    Assessment (TERA), Cincinnati, OH. January 7 & 8.
•   2007 US Environmental Protection Agency (US EPA) - Integrated Risk Information System
    (IRIS) Peer Review of Nitrobenzene, Washington, DC, May 15.
•   2004 Resorcinol Peer Review Meeting: Follow-up Review to 2003, Toxicology Excellence for
    Risk Assessment, Harrisburg, PA. November 17 & 18.
•   2004 Federal Insecticide, Fungicide, and Rodenticide Act Scientific Advisory Panel Meeting:
    Consultation on Dermal Sensitization Issues for Exposures to Pesticides, Arlington, Virginia.
    May 4-6.
•   2003 Resorcinol Peer Review Meeting, Toxicology Excellence for Risk Assessment (TBAC),
    Cincinnati, OH. April 18 & 19.

PEER REVIEWER
•   Chemical Research in Toxicology
•   Journal of Agricultural and Food Chemistry
•   International Journal of Environmental Research and Public Health
•   Current Medicinal Chemistry

CONFERENCES AND SYMPOSIUMS
• 2013 Steering Committee member for the upcoming Gordon Conference “Environmental
  Nanotechnology: Novel Approaches to Meet Global Challenges.” Vermont, USA.
•   2013 Co-Chair for “The Small-Business Community” breakout session of the “National
    Nanotechnology Initiative Workshop: Stakeholder Perspectives on the Perception, Assessment,
    and Management of the Potential Risks of Nanotechnology.” National Nanotechnology Initiative,
    Washington D.C., USA, September 10-11.
•   2012 Organizer for the “Water Research Foundation Workshop Assessing Potential Short-Term
    Impacts of Chloramination.” Water Research Foundation, Seattle, WA, December 6-7.
•   2011 Roundtable Participant for the “Washington State Green Chemistry Roundup,” the Pacific
    Northwest Pollution Prevention Resource Center (PPRC), May 25-26.



                                        Pleus - 12
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 48 of 70



•   2010 Invited Speaker for the “Capstone Meeting: Risk Management Methods & Ethical, Legal,
    and Societal Implications of Nanotechnology”, the National Nanotechnology Initiative (NNI),
    Washington DC, USA, March 30-31.
•   2009 Co-Chair for the In Vitro Plenary of the “Nanomaterials and Human Health &
    Instrumentation, Metrology, an Analytical Methods” Workshop, the National Nanotechnology
    Initiative, Washington DC, USA, November. The workshop brings together thoughts and ideas to
    recommend which direction the federal government’s nano EHS research strategy.
•   2009 Planning Committee Chair Member for the “Nanotechnology Health & Safety Forum
    (NHSF)”, Seattle, USA, June. The NHSF explored the multiple perspectives of nanotechnology.
•   2007 Committee Member for the “Naphthalene State-of-the-Science Symposium,” University of
    Nebraska Center for Environmental Toxicology, Monterey, USA. October. The Symposium is a
    scholarly peer review of critical scientific information underlying a federal health risk
    assessment.
•   2003 Organizing Committee Member for the “Perchlorate State-of-the-Science Symposium,”
    University of Nebraska Medical Center, Omaha, USA, September. The Symposium is a scholarly
    peer review of critical scientific information underlying a federal health risk assessment.

SELECT EDUCATIONAL COURSES
•   Lecturer 2015-2017. Review of the human science for perchlorate. University of Minnesota
•   Lecturer 2015. Comparing the toxicology of conventional chemicals to nano-objects.
    Presented for the course ‘ECE 383 / CSI 383 Nanotechnology: Simulation and Design’, taught by
    the Department of Electrical & Computer Engineering, Portland State University.
•   Lecturer 2013. Comparing the toxicology of conventional chemicals to nano-objects.
    Presented for the course ‘ECE 399 / CSI 399 Nanotechnology: Simulation and Design’, taught by
    the Department of Electrical & Computer Engineering, Portland State University.
•   Lecturer 2012. Guidance on Physicochemical Characterization for Manufactured Nano-objects
    Submitted for Toxicological Testing: ISO TC-229 Project Work. Presented at a Bar-Ilan Institute
    of Nanotechnology and Advanced Materials Seminar. Tel Aviv, Israel, October 15.
•   Lecturer for Department of Pharmacology, University of Nebraska Medical Center. Provided
    lectures on toxicology for medical, pharmacy, graduate and physician assistant students at the
    University of Nebraska Medical Center, Department of Pharmacology.
•   Presented two courses in human health risk assessment for staff of the Technical Research
    Council in South Africa. The purpose of the course was to introduce multi-pathway risk
    assessment as a means for evaluating potential chemical exposures associated with various
    industrial activities in South Africa.
•   Developed and taught over five courses on risk assessment and risk communication for the Air &
    Waste Management Association. The courses address toxicology, multi-pathway risk
    assessments for combustion sources, uncertainty analyses, and risk communication.
•   Lectured on toxicology of the sensory system and neuroimaging in graduate student courses at
    the University of Washington.

•   Developed and taught a course for public utility workers in the Puget Sound area on the subject
    of electromagnetic fields and their potential for adverse health effects.
•   Developed, managed, and team-taught several courses on toxicology, risk assessment, and risk
    communication for the managers and staff of chemical plants, utilities, oil companies, railroads,
    and for government officials. Courses have been presented in California, Pennsylvania, Arizona,
    Missouri, France, and South Africa.
                                           Pleus - 13
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 49 of 70



GRANTS AND AWARDS
•   Grant Awarded, AwwaRF/WRF 4214: Development of Acceptable Daily Intakes (ADIs) for
    Pharmaceutical and Personal Care Product Ingredients, Hormonally Active Compounds, and
    Other Potentially Highly Toxic Compounds of Emerging Interest in Water Using the Minimum
    Anticipated Biological Effect Level (MABEL) Approach (Richard Pleus and Gretchen Bruce,
    Principal Investigators) 2008.
•   Grant Awarded, WRF-05-005: Identifying Hormonally Active Compounds, Pharmaceutical
    Ingredients, and Personal Care Product Ingredients of Most Health Concern from Their Potential
    Presence in Water Intended for Indirect Potable Reuse; in collaboration with SNWA (Shane
    Snyder, Principal Investigator), 2007-2008.
•   Grant Awarded, Center for Produce Safety 2012-208: Apple growing and packing microbial risk
    factors and their potential to lead to foodborne disease outbreaks (Richard Pleus, Principal
    Investigator), 2012.
•   Grant Awarded, WaterRF 4387: Development of a Water Utility Primer on EDCs/PPCPs for
    Public Outreach (Gretchen Bruce and Richard Pleus, Principal Investigators) 2012-2015.
•   Grant Awarded, WaterRF 4320: Assessing Potential Short-Term Impacts of Chloramination.
    Water Research Foundation (Richard Pleus, Principal Investigator) 2011-2015.
•   Grant Awarded, AwwaRF/WRF 3085/04-003: Toxicological Relevance of Endocrine Disruptors
    and Pharmaceuticals in Drinking Water (2004-2008); in collaboration with Southern Nevada
    Water Authority (SNWA) (Shane Snyder, Principal Investigator), 2008.
•   Grant Awarded, AwwaRF 3033: Comprehensive Utility Guide for Endocrine Disrupting
    Chemicals, Pharmaceuticals, and Personal Care Products in Drinking Water; in collaboration
    with SNWA (SHANE Snyder, Principal Investigator), 2005-2006.
•   Grant Awarded, WRF-06-018: Tools to Assess and Understand the Relative Risks of Indirect
    Potable Reuse and Aquifer Storage and Recovery Projects (2006-present ) (DRAFT); in
    collaboration with Nellor Environmental Associates, Inc. and Soller Environmental, LLC
    (Margie Nellor and Jeff Soller, Principal Investigators)
•   Elected to Delta Omega Honorary Society in Public Health, 2003.
•   Best Paper: Pleus R.C., Goodman G. and Mattie D.R. Development of a Reference Dose for
    Perchlorate: Current Issues and Status. Presented at the 50th Joint Army-Navy-NASA-Air Force
    (JANNAF) Propellant Development and Characterization and Safety and Environmental
    Protection Subcommittees Joint Meeting, Cocoa Beach, FL. May 2000.
•   Faculty Mentor of the Year Award, General College Student government, University of
    Minnesota, Minneapolis, MN. 1989.
•   Director of Undergraduate Research Opportunities Program Award, University of Minnesota, for
    the research proposal, The effect of fetal hypoxia on fetal brain development. 1987.

•   Director of Undergraduate Research Opportunities Program Award, University of Minnesota, for
    the research proposal, Use and operation of autoshaping and fixed ratio paradigm in
    environmental toxicology research. 1986.
•   Scholl Fellowship, National Sudden Infant Death Foundation, Landover, MD. 1985.
•   US Public Health Traineeship Award, United States Public Health Service, Washington, DC.
    1979.




                                        Pleus - 14
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 50 of 70



PROFESSIONAL MEMBERSHIPS
•   American Society for Pharmacology and Experimental Therapeutics
•   Association for the Advancement of Science
•   Society for Neuroscience
•   Society of Toxicology

DIRECTORSHIPS
•   2010 – 2018       Member, Board of Directors for the Nanotechnology Industries Association
                      (NIA), Brussels, Belgium
•   2004 – 2007       Member, Board of Directors, Frontier Geosciences, Inc. Seattle, WA.
•   2001 – present    Member and former Secretary, Board of Directors, Urban Environmental
                      Institute. Seattle, WA.
•   1998 – 1999       Member, Board of Directors, Northwest Sculling Association. Seattle, WA.
•   1996 – 1998       Vice President, Seattle Yacht Club Rowing Foundation. Seattle, WA.
•   1989              Member, Board of Directors, Insight, Inc. Stillwater, MN.

ADVISORY POSITIONS
•   2013 – 2017       Member of the University of California Center for Environmental
                      Implications of Nanotechnology (UC CEIN) External Science Advisory
                      Committee (ESAC). Selected for expertise on nano-related EHS issues.
•   2012              Invited Expert for the “BRE Cabin Air Quality Workshop.” The BRE
                      Group, London, England, February 20-21.
•   2011              U.S. delegate for the U.S.-Russia Bilateral Presidential Commission on
                      Science and Technology, March 1 through 5. Selected for expertise on nano-
                      related EHS issues.
•   2010 – 2017       Chair of the Science Advisory Board, National Institute of Biomedical
                      Imaging and Bioengineering (NBIB), Development and Launch of an
                      Interoperable and Curated Nanomaterial Registry, Principal Investigator:
                      Michele L. Ostraat, PhD.
•   2009 – 2011       Project Advisory Committee, WateReuse Foundation / Kennedy/Jenks
                      Consultants, WRF 09-07: Risk Assessment Study of PPCPs in Recycled
                      Water to Support Public Review.
•   2009              Peer Review Panel Member for the National Institute for Occupational Safety
                      and Health (NIOSH) Intramural Proposal "International Coordination of
                      Nanoscale Reference Materials" for the Nanotechnology Research Center
                      (NTRC).
•   2008 – 2011       Project Advisory Committee, WateReuse Foundation, WRF 06-019:
                      Monitoring for Microconstituents in an Advanced Wastewater Treatment
                      (AWT) Facility and Modeling Discharge of Reclaimed Water to Surface
                      Canals for Indirect Potable Use, Florida, USA
•   2008 – 2012       Advisory Board Member, Center for Risk Communication Research,
                      University of Maryland, College Park, MD, USA
•   2007 – 2010       International Advisory Board, USA, International Symposium on
                      Nanotechnology in Environmental Protection and Pollution, Fort Lauderdale,
                      FL, USA
                                       Pleus - 15
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 51 of 70



•   2007 – present     Chair and US Delegate on the International Organization for
                       Standardization (ISO) Technical Committee (TC) 229, Nanotechnologies,
                       leading the U.S. Technical Advisory Group (TAG) Working Group 3;
                       Environmental and Occupational Health. This work group develops a
                       comprehensive technical and standards for engineered nano-objects.

•   2006 – 2008        Counselor to the Regional Central States Chapter of the Society of
                       Toxicology (CS-SOT).
•   2006               Stakeholder Advisory Committee Member, to review Development of
                       Indicators and Surrogates for Chemical Contaminant Removal During
                       Wastewater Treatment and Reclamation, WateReuse Foundation Project
                       WRF-03-014. May 16-17, in Phoenix, Arizona.
•   2002               Odors and Toxic Air Emissions Conference Program Committee Member.
                       New Mexico, Rocky Mountain Water Environment Association, Air and
                       Waste Management Association, and the International Water Association.
•   2000 – 2008        Member, Board of Advisors, Good Company. Eugene, OR.

COMMUNITY SERVICE
•   Panelist, Lakeside School Annual Biology Assessment Program. Seattle, WA (2001).
•   Member & Co-Director, Mayor’s Small Business Task Force. Seattle, WA (1997-2001).
•   Member, Sustainable Seattle: a voluntary network and civic forum for sustainability. Seattle, WA
    (1992-1993).

SELECTED PROFESSIONAL PRESENTATIONS
   2020 Pleus R.C. Speaker on “Emerging Technology Trends: Nanotechnology.” ANSI Company
   Member Forum. Hosted remotely, June 9.
   2019 Pleus R.C. Invited Expert for the “IATA Aviation Health Conference.” The International
   Air Transport Association, London, England, September 24-25.
    2015. Pleus R.C. Physical-Chemical Properties: Relevance to Toxicity Testing. Presented at the
    Nanotechnology Regulatory Information Sessions: Regulatory Perspectives of Nanomaterial
    Physical-Chemical Properties. Health Canada, Ottawa, Ontario, March 13.
    2013 Pleus R.C. Speaker on “The Nanosafety Consortium for Carbon” session of the “3rd USAF
    ASC/AFRL Engineered Nanomaterials Environment, Safety, and Health Workshop.” January 10-
    12.
    2013. Pleus R.C. Guidance on Physicochemical Characterization for Manufactured Nano-
    Objects Submitted for Toxicological Testing: ISO TC-229 Project Work. Presented at the NIEHS
    Nano Exposure/Character Workshop. Research Triangle Park, NC, January 10.
    2012. Pleus R.C. Innovative Nano-toxicological Risk Assessment Process for Regulatory
    Purposes. Presented at the 40th Annual ISEES Conference. Tel Aviv, Israel, October 16-18.
    2012. Pleus R.C. Brief Examination of the Current Toxicology Research for Carbon Nanotubes
    (CNTs). Presented to the Nanotubes Empowerment Solutions Consortium. Tel Aviv, Israel,
    October 15.
    2012. Pleus R.C. Chemicals, Bleed Air, and Health Effects: What the Science Says. Presented at
    Aviation Health Conference 2012. London, United Kingdom, October 2-3, 2012.



                                         Pleus - 16
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 52 of 70



2011. Pleus R.C. Comparing the Toxicology of Conventional Chemicals to Nano-Objects.
Presented at the Escuela de Ingeniería Electrónica, Instituto Tecnológico de Costa Rica. San José,
Costa Rica, February 2.
2010. Pleus R.C. Nanomaterials – Understanding and Managing ESOH Risks. Presented at the
8th Annual NanoTechnology for Defense Conference (NT4D). Atlanta, GA, May 3-6, 2010.
2010. Pleus R.C. The Importance of Defining Chemical and Physical Parameters for
Toxicological Testing of Nanomaterials: Getting Two Scientific Groups to Help Each Other.
Presented at the Bureau International des Poids et Mesures (BIPM) Workshop on Metrology at
the Nanoscale. Sevres, France, February 18-19.
2009. Pleus R.C. Global Standardization: ISO TC 229. Nanotechnology Symposium California
Department of Toxic Substances Control (DTSC). Sacramento, CA, November 16.

2009. Pleus R.C. Nanomaterials: Steps to Address EHS Concerns That Businesses Should
Consider Before Placing Nanomaterials on the Market. Nanotech in the Marketplace Webinar.
Nanotechnology Today: A Web Series. June 4.
2009. Pleus R.C. Hexavalent Chromium and Mercury in the Cement Industry – Recent Concerns
About Human Health Issues. Presented at the 2009 IEEE-IAS/PCA 51st Cement Industry
Technical Conference. Palm Springs, CA, June 2.
2009. Pleus R.C. Pharmaceuticals & Endocrine Disrupting Chemicals (EDCs) in Water:
Development of Health Risk-Based Screening Levels. Presented at the Water Quality Committee
Program 2009 ACWA Spring Conference. Sacramento, CA, May 19-22.
2009. Pleus R.C. EHS: Policy, Regulation & Product Safety. Presented at the Nano Science and
Technology Institute (NSTI) 2009 Products and Liability Panel. Houston, TX, May 5.
2009. Pleus R.C. Environmental Health & Safety and Nanotechnology: Possible Issues in the
Water Industry. Presented at the Washington Innovation Summit 2009. Bellevue, WA, April 9.
2009. Pleus R.C. Perchlorate, Pharmaceuticals and Personal Care Products, Endocrine
Disrupting Chemicals, and Nanotechnology in Water. Presented for the Association of California
Water Agencies (ACWA). Sacramento, CA, February 9.
2008. Pleus R.C., Walker, N., and Canady, R. A Minimal Set of Characterization Parameters.
Presented at the Ensuring Appropriate Material Characterization in Nano-Toxicity Studies: A
Workshop, Washington, D.C., October 28.
2008. Pleus R.C. What We Are Learning About Micro Constituents in Drinking Water:
Pharmaceuticals and Endocrine Disruptors. Presented at the 2008 Water Quality and Regulatory
Conference, Ontario, CA, October 16.
2008. Pleus R.C. Pharmaceuticals, Endocrine Disrupting Chemicals (EDCs), and Personal Care
Products (PCPs) in Untreated and Treated Drinking Water: What We Know So Far. Presented at
the AWWA / PNWS sponsored seminar, Pharmaceuticals in Water and Wastewater, Hillsboro,
OR, September 11.
2008. Pleus R.C. Nanotechnology: Risk, Health, and Environmental Perspectives: Toxicology
and Nano-objects. Boeing, Seattle, WA, July 25.
2008. Pleus R.C. Endocrine Disrupting Compounds (EDCs) and Pharmaceuticals and Personal
Care Products (PPCPs). AWWA Webcast, May 7.
2008. Pleus R.C. Toxicology of Endocrine Disruptors (EDCs): Excerpts from Toxicological
Relevance of Endocrine Disruptors and Pharmaceuticals in Drinking Water, project #3085.

                                      Pleus - 17
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 53 of 70



Presented at the EDC Communication - AwwaRF Research On EDC’s and Risk Communication
for D.C. Region Stakeholders, Washington, D.C., April 11.
2008. Pleus R.C. Toxicological Relevance of Endocrine Disrupting Chemicals (EDCs) and
Pharmaceuticals in Water. AwwaRF Project #3085 / WRF 04-003. AwwaRF Webcast, March 6.
2008. Pleus R.C. Strategy Used to Build Toxicological Database for Emerging Toxic Chemicals
in Litigation Focusing on the Mechanism of Action—Yes, This Is Rocket Science! Presented at
the DRI Conference, Phoenix, AZ, February 6, 2008.
2007. Linkov I., Peterson M.K., Corey L.M., and Pleus R.C. Assessing Environmental Risk of
Nanomaterials: Approaches and Tools. 2007 NSTI Nanotechnology Conference and Trade Show,
Santa Clara, CA, May 20-24.

2007. Snyder E.M., Bruce G.M., Pleus R.C., and Snyder S.A. Incidence and Toxicological
Significance of Selected Endocrine Disrupting Chemicals (EDCs) in Drinking Water. Presented
at the World Environmental and Water Resources Congress 2007, Tampa, FL, May 15-19.
2006. Snyder S.A., Pleus R.C. Human Health Implications from Nanoparticles in Water.
Presented at The2nd International Symposium on Environmental Nanotechnology, South Korea,
November 3.
2006. Pleus R.C., Snyder S.A. Risk Assessment of Pharmaceuticals and Endocrine Disruptors in
Drinking Water. Presented at The Western Coalition of Arid States Conference, Tucson, AZ,
November 2.
2006. Pleus R.C., Snyder S.A. Toxicological Relevance of Pharmaceuticals and Endocrine
Disruptors in Drinking Water. Presented to the Orange County Utilities; Water Quality Section
Conference, Orlando, FL, October 26.
2006. Linkov I., Pleus R.C., Stevens J., and Ferguson E. EPA Peer Review Panel
Recommendations on Environmental Risk of Nanomaterials & Multi-Criteria Decision Analysis
and Environmental Risk Assessment for Nanomaterials. Presented at the US Army
Nanotechnology Development Coordination Meeting, Cambridge, MA, August 15-17.
2006. Pleus, R.C. Perchlorate in 2006: Where are we and where are we going? Invited speaker.
Presented at the 2006 Superfund Program Managers Symposium, Scottsdale, AZ, August 13-16.
2006. Corey L.M., Peterson M.K., Pleus R.C. Nanotechnology Environmental Health and Safety
(EHS): Current Knowledge and Future Challenges. Presented at the 9th Annual Force Health
Protection Conference, Albuquerque, NM, August 6-11.
2006. Corey L.M., Peterson M.K., Pleus R.C. Nanotoxicology: Special Considerations for
Assessing Risks from Very Small Particles. Presented at the 9th Annual Force Health Protection
Conference, Albuquerque, NM, August 6-11.
2006. Corey L.M., Peterson M.K., Pleus R.C. Developing Nanotechnology Health and Safety
Standards. Invited speaker. Presented at the 2006 Micro Nano Breakthrough Conference,
Vancouver, WA, July 25, 2006.
2006. Pleus R.C., Bruce G.M., Snyder E.M., Snyder S.A., and Corey L.M. Toxicological
Relevance of EDCs and Pharmaceuticals. Invited speaker. Presented at the 2006 AWWA Annual
Conference in San Antonio, TX. June 11-15.
2006. Pleus R.C., Bruce G.M., Snyder E.M., Snyder S.A., and Corey L.M. Incidence and
Toxicological Significance of Selected Pharmaceuticals in Drinking Water. Presented at the
Groundwater Resources Association’s Emerging Contaminants in Groundwater Symposium,
Concord, CA. June 7-8.

                                     Pleus - 18
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 54 of 70



2006. Pleus R.C., Bruce G.M., Snyder E.M. Addressing the Significance of Trace Level
Findings. Presented at the Association of California Water Agencies Groundwater/ Water Quality
Track: Pharmaceuticals in Groundwater: Public Health Issue or Public Relations Nightmare?
Monterey, CA. May 10.
2006. Bruce G.M., Pleus R.C., Snyder S.A., and Snyder E.M. Toxicological Relevance of
Pharmaceuticals and Endocrine Disrupting Chemicals in Water. Presented at the National
Ground Water Association’s 5th International Conference on Pharmaceuticals and Endocrine
Disrupting Chemicals in Water, Costa Mesa, CA. March 14, 2006.

2005. Snyder E.M., Snyder S.A., Pleus R.C., Bruce G.M., Hemming J.D.C., and Hulsey R.A.
Approach for Assessing the Toxicological Relevance of Endocrine Disruptors and
Pharmaceuticals in Drinking Water. Submitted to Water Quality Technology Conference and
Exhibition, Quebec, Canada. November 6-10.
2005. Corey L.M., Bruce G.M., Pleus R.C. Development of Nano-Based Risk Assessments:
Challenges for the Present and Future. Mechanisms of Action of Inhaled Fibers, Particles and
Nanoparticles in Lung and Cardiovascular Disease, Research Triangle Park, NC. October 25-28.
2005. Pleus, R.C. Perchlorate: Where We Are and Where We Are Going? Presented at the
Environmental Law Conference at Yosemite, CA. October 22.
2005. Pleus, R.C. Emerging Chemicals of Concern-Effective Toxicological Assessment.
Presented for the Society of Toxicology, Central State Chapter, Ames, IA. September 30.
2005. Pleus, R.C. Emerging Chemicals—Health Concerns About Endocrine Disruptors &
Pharmaceuticals in Drinking Water Supplies. Presented at Mealey’s Water Contamination
Conference in Los Angeles, CA. September 26-27.
2005. Pleus R.C. Methods to Derive Safe Drinking Water Levels for Chemicals in Drinking
Water. Invited to present at the 2005 Annual Conference & Exposition of the American Water
Works Association: Natural Poisons & Unnatural Products Session, San Francisco, CA. June 14.
2005. Bruce G.M. and Pleus R.C. Private Toxicology: Testing and Analysis. Invited to present at
the Winning: Hot Topics in Criminal Law—Alternatives to the State Crime Lab, Seattle, WA.
May 24.
2005. Bruce G.M., Peterson M.K., and Pleus R.C. Comparative Risk Assessment Of Multimedia
Environmental Exposure To Perchlorate and Other Agents That Inhibit Iodide Uptake Into The
Thyroid. Poster presented at the Society of Toxicology 44th Annual Meeting, New Orleans, LA.
March 10.
2005. Peterson M.K., Pleus R.C., and Hays S.M. Assessing the Risks Associated with Children
Ingesting Lead in School Drinking Water: PBPK Modeling and Risk Communication. Poster
presented at the Society of Toxicology 44th Annual Meeting, New Orleans, LA. March 8.
2005. Dodge D.G., Peterson M.K., and Pleus R.C. Addressing Toxicological Challenges to
Community Water Fluoridation in Washington State. Poster presented at the Society of
Toxicology 44th Annual Meeting, New Orleans, LA. March 7.
2004. Pleus R.C. 2004 Update: What Do Human Data Tell Us About How Much Perchlorate
Exposure is 'Safe'? Presented at the 2004 Water Quality Conference, Ontario, CA. October 26-
28.
2004. Pleus R.C. Perchlorate dose-response relationship and the likelihood of effects at
environmentally relevant levels. Presented at the URS Seminar—Perchlorate: Rush to Judgment
or Serious Health Threat, Seattle, WA. September 28th.

                                    Pleus - 19
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 55 of 70



2004. Pleus R.C. Research, Discovery, and Contribution: Professional Experience in the
Republic of South Africa. Invited speaker. Presented at the Pacific Northwest Association of
Toxicologists (PANWAT) Annual Meeting: Toxicology in Third World Settings, Bend, OR.
September 19th.
2004. Pleus R.C. Product Liability: Emerging Contaminants of Concern. Presented to Bullivant
Houser Bailey, Seattle, WA and their satellite offices via video-conference. September 2.

2004. Pleus R.C. Perchlorate dose-response relationship and the likelihood of effects at
environmentally relevant levels. Presented at the 228th ACS National Meeting, Philadelphia, PA.
August 22-26.
2004. Pleus R.C. and Bruce G.M. Where Are We Now? An Update on the Perchlorate Action
Level Debate. Presented at the 7th Annual Force Health Protection Conference, Albuquerque,
NM. August 8-12.
2004. Belzer R.B., Pleus R.C., Bruce G.M., and Peterson M.K. Using Comparative Exposure
Analysis to Validate Low-Dose Human Health Risk Assessment: The Case of Perchlorate.
Presented at the 7th Annual Force Health Protection Conference, Albuquerque, NM. August 8-12.
2004. Pleus R.C. and Bruce G.M. Perchlorate dose-response relationship and the likelihood of
effects at environmentally relevant levels. Presented at the Groundwater Resources Association
of California Conference, Glendale, CA. August 4th.
2004. Pleus R.C. Asthma and Fungi: State of the Science. Presented at the ASTM International
Boulder Conference on Mold in the Indoor Environment: Assessment, Health and Physical
Effects, and Remediation, University of Colorado at Boulder, Boulder, CO. July 25-30.
2004. Pleus R.C., Bruce G.M., Peterson M.K., and Dodge D.G. Comparative Contribution of
Perchlorate and Anti-Thyroid Agents in American Diets to Iodide Uptake Inhibition. Paper
presented at the 32nd Propellant Development & Characterization Subcommittee (PDCS) and the
21st Safety & Environmental Protection Subcommittee (S&EPS) Joint Meeting, Seattle, WA,
July 25-29.
2004. Pleus R.C. Perchlorate dose-response relationship: Evidence from human studies.
Presented at the 227th American Chemical Society National Meeting, Anaheim, CA. April 1.
2004. Pleus R.C. Establishing a Safe Dose for Perchlorate Based on Human Evidence of a No
Effect Level. Presented at the Society of Toxicology 43rd Annual Meeting, Baltimore, MD.
March 24.
2004. Peterson M.K. and Pleus R.C. Comparative Analysis of Neuropsychological Toxicity of
Biological, Chemical, and Pharmaceutical Agents. Presented at the Society of Toxicology
Annual Meeting, Baltimore, MD. March 22.
2004. Pleus R.C. Perchlorate: The Greer Study, the Critical Animal Studies, and the Process of
Evaluation by the National Academy of Science. Presented at the 14th Annual West Coast
Conference on Soils, Sediments, and Water, San Diego, CA. March 16.
2004. Pleus R.C. and Bruce G.M. Adverse Effect Levels for Neurodevelopmental Effects
Associated with Maternal Perchlorate Exposure: What do Existing Data Indicate? Presented at
the 21st International Neurotoxicology Conference, Honolulu, Hawaii. February 12.
2003. Pleus R.C. Considerations related to sampling for bioterrorism agents. Presented at the
Society for Risk Analysis Meeting—Bridging Risk Divides: Risk Assessment and Risk
Communications Methodologies for Bioterrorism Incident Response Symposia, Baltimore, MD.
December 8.

                                     Pleus - 20
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 56 of 70



2003. Pleus R.C. A Review of the Science Required to Establish an Informed MCL for
Perchlorate in Drinking Water. Presented to the Perchlorate Review Scholars Committee Urban
Water Research Center, University of California, Irvine, CA. October 21.
2003. Pleus R.C. Perchlorate: The Questions You Have and The Answers You Need Presented at
Fresh Summit 2003: Produce Marketing Association’s 54th International Convention &
Exposition, Orlando, FL. October 19.
2003. Pleus R.C. What do we know about the neurotoxic effects of chemicals in aircraft cabin
air? Presented at the Northwest Occupational Health Conference Pacific Northwest Section of the
American Industrial Hygiene Association, Seattle, WA. October 16.
2003. Pleus R.C. The Greer Study: Discussion of the Key Points. Presented at the UNMC
Perchlorate State-of-the-Science Symposium, Omaha, NE. September 30.
2003. Pleus R.C. Making Sense of the Perchlorate Action Level Debate. Presented at the 6th
Annual Force Health Protection Conference, Albuquerque, NM. August 11-14.
2003. Pleus R.C. Quantifying the Effects of Perchlorate. Presented at the California Minor Crops
Council Technical Committee Meeting, Irvine, CA. June 26.
2003. Pleus R.C., Bruce G.M., and Peterson M.K. Assessing Neurodevelopmental Effects of
Environmental Exposures to Anti-Thyroid Agents: How Relevant are High Dose Rat Studies?
Presented at the Society of Toxicology 42nd Annual Meeting, Salt Lake City, UT. March 9-13.
2003. Bruce G.M., Pleus R.C., and Peterson M.K. Dose-Response Investigation of Tricresyl
Phosphates Potentially Present in Airplane Cabin Air from Jet Engine Oils. Presented at the
Society of Toxicology 42nd Annual Meeting, Salt Lake City, UT. March 9-13.
2003. Pleus R.C. Invited as Expert Panelist and presented, Making Sense of the Perchlorate
Action Level Debate at AFCEE Technology Transfer Workshop, San Antonio, TX. February 24-
27.
2003. Pleus R.C. Making Sense of the Perchlorate Action Level Debate. Presented at the 22nd
Meeting of the RCC – Environmental Group AFCEE, San Francisco, CA. February 11-13.
2003. Pleus R.C. Dose-Response Investigation of Tricresyl Phosphates Potentially Present in
Airplane Cabin Air from Jet Engine Oils. Presented at the 20th Annual International Aircraft
Cabin Safety Symposium. Universal City, CA. February 10-13.
2002. Belzer R.B., Johnson D., Peterson M.K., and Pleus R.C. Comparative Risk Assessment for
Perchlorate: How does the US EPA’s RfD Compare to Other Goitrogens that are Found in the
US Diet. Presented at the Society for Risk Analysis Annual Meeting: Symposium on Perchlorate:
Policy Implications, New Orleans, LA, December 8-11.
2002. Pleus R.C. and Bruce G.M. Assessing Developmental Neurotoxicity for Environmental
Chemicals. Presented at the Society for Risk Analysis Annual Meeting Symposium on
Perchlorate: Policy Implications, New Orleans, LA, December 8-11.
2002. Peterson M.K., Bruce G.M., and Pleus R.C. Implications for the Use of Thyroid Endpoints
from Rat Reproductive/Developmental Toxicity Studies in Human Risk Assessment. Presented at
the Society for Risk Analysis Annual Meeting Symposium on Perchlorate: Policy Implications,
New Orleans, LA, December 8-11.
2002. Pleus R.C. Making Sense of the Perchlorate Action Level Debate. Presented at the SERDP
Partners in Environmental Technology Technical Symposium & Workshop, Washington, D.C.
December 5.
2002. Pleus R.C. What Do Human Data Tell Us About How Much Perchlorate Exposure is
‘Safe’? Presented at the Perchlorate Conference, Ontario, CA, October 16.
                                      Pleus - 21
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 57 of 70



2002. Bruce G.M., Peterson M.K., and Pleus R.C. Sequence of Neurodevelopmental Effects of
Anti-thyroid Agents in Rat Offspring: What Should We Expect to See? Poster presented at the
NIEHS Thyroid Hormone & Brain Development Conference, Research Triangle Park, NC,
September 23-25.
2002. Wahlsten D., Colbourne F., and Pleus R.C. High throughput rat and mouse brain
morphometry for toxicology research. Poster presented at the NIEHS Thyroid Hormone & Brain
Development Conference, Research Triangle Park, NC, September 23-25.
2002. Belzer R.B., Bruce G.M., Peterson M.K., and Pleus R.C. Exposure to Anti-thyroid
Chemicals in the Environment and Diet. Poster presented at the NIEHS Thyroid Hormone &
Brain Development Conference, Research Triangle Park, NC, September 23-25.
2002. Pleus R.C. Understanding Mold-Related Health Effects. Presented at the Emerging
Environmental Issues Workshop Environmental Issues In Transactions: The New Landscape &
Mold: Why a Headline Now? Sidley Austin Brown & Wood, Chicago, IL, June 7.
2002. Pleus R.C. with Boss, et al. Decommissioning – Biological Risk course: Risk Assessment
and Risk Communication: Strategic Tools. Presented at the American Industrial Hygiene
Conference & Exposition, San Diego, CA, June 1-2.
2002. Peterson M.K., Bruce G.M., and Pleus R.C. Identification and Risk Assessment of
Odorous Chemicals Associated with Combustion Processes. Poster presented at the Air & Waste
Management Association’s Hazardous Waste Combustors Specialty Conference & Exhibition,
St. Louis, MO, April 17-19.
2002. Pleus R.C. The Toxicology of Terror and Tragedy. Presented at the Western Washington
Emergency Network Conference, Bellevue, WA, April 2-3.
2002. Pleus R.C. Understanding Mold-Related Health Effects. Presented at the Mold Mania! A
Growing Concern for the Insurance Industry seminar, Pacific Northwest Chapter of the CPCU
Society, Seattle, WA, March 13.
2002. Bruce G.M., Johnson D. and Pleus R.C. Assessment of the Validity of US EPA’s
Interpretation of an Effect of Altered Neurobehavior in Offspring Treated with Perchlorate in
utero: A Critical Review of the Argus (1998) and Bekkedal et al. (2000) Studies. Submitted to
Eastern Research Group, Inc. for the US EPA/ORD Peer Review Workshop-Perchlorate
Environmental Contamination: Toxicological Review and Risk Characterization, March 5-6,
Sacramento, CA. February 19.
2002. Bruce G., Peterson M.K., Lincoln D.L., and Pleus R.C. Review and assessment of TSH
and Thyroid Hormones during Pregnancy in the Rat and Human and Comparison to Hormone
Values in the 2001 Effects Study. Submitted to Eastern Research Group, Inc. for the US
EPA/ORD Peer Review Workshop-Perchlorate Environmental Contamination: Toxicological
Review and Risk Characterization, March 5-6, Sacramento, CA. February 19.
2002. Bruce G. and Pleus R.C. Summary of the Expert Review of the Argus, 2001 (“Effects
Study”) Evaluation of Perchlorate Effects on Brain Morphometry in Neonatal Rats. Submitted to
Eastern Research Group, Inc. for the US EPA/ORD Peer Review Workshop-Perchlorate
Environmental Contamination: Toxicological Review and Risk Characterization. March 5-6,
Sacramento, CA. February 19.
2002. INTERTOX, INC. Summary of the 1999 External Peer Review Panel Workshop, Submitted to
Eastern Research Group, Inc. for the US EPA/ORD Peer Review Workshop-Perchlorate
Environmental Contamination: Toxicological Review and Risk Characterization. March 5-6,
Sacramento, CA. February 19.

                                     Pleus - 22
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 58 of 70



2002. Johnson D. and Pleus R.C. Assessment of Neuropsychological Studies by Haddow et al.
(1999) and Others Cited By US EPA to Support Their Concerns for Developmental Deficits
Related to Maternal Thyroid Deficiency. Submitted to Eastern Research Group, Inc. for the US
EPA/ORD Peer Review Workshop-Perchlorate Environmental Contamination: Toxicological
Review and Risk Characterization. March 5-6, Sacramento, CA. February 19.
2001. Pleus R.C. Mercury Toxicology: Managing for Mercury in the Waste Stream. Presented at
The WA State Recycling Association Workshop: Managing for Mercury in the Recycling
Stream, Olympia, WA, November 16.
2001. Pleus R.C. Understanding Mold-Related Health Effects. Is the Mold Rush the New
Litigation Gold Rush? Presented at the Strategies for Taking the “Gold” Out of Mold Claims
workshop, Bullivant Houser Bailey, PC, Seattle, WA, November 8.
2001. Peterson M.K., Bruce G.M., Johnson D.L., and Pleus R.C. Evaluation of Risks and Health
Effects in Humans Exposed to the Herbicide Dinoseb: A Case Study. Poster presented at the
2001 Society for Risk Analysis Annual Meeting, Seattle, WA, December 2-5.
2001. Goodman G. and Pleus R.C. Report on Six Expert Reviews of the Levy Report (J. Levy,
J.D. Spengler, D. Hlinka, and D. Sullivan, Estimated Public Health Impacts of Criteria Pollutant
Air Emissions from the Salem Harbor and Brayton Point Power Plants, May 2000). Prepared for
USGen New England, Inc., Boston, MA. August 4.
2001. Pleus R.C., Goodman G. and Mattie D.R. Development of a Reference Dose for
Perchlorate: Current Issues and Status. Paper presented at 50th JANNAF (Joint Army-Navy-
NASA-Air Force) Propulsion Meeting, Salt Lake City, UT, July 12.
2001. Pleus R.C. and Bruce G. Report on Five Expert Reviews of the Primedica 2001 Study
Report (Hormone, Thyroid and Neurohistological Effects of Oral (Drinking Water) Exposure to
Ammonium Perchlorate in Pregnant and Lactating Rats and in Fetuses and Nursing Pups
Exposed to Ammonium Perchlorate During Gestation or via Maternal Milk, March 2001).
Prepared for the Perchlorate Study Group. May 16.
2000. Greer M.A., Goodman G., Pleus R.C. and Greer S. Does Environmental Perchlorate
Exposure Alter Human Thyroid Function? Determination of the Dose-Response for Inhibition of
Radioiodine Uptake. Paper presented at the International Thyroid Meeting, Kyoto, Japan,
October 22-27.
2000. Greer M.A., Goodman G., Pleus R.C. and Greer S.E. Dose-Response for Perchlorate
Effects on Thyroid Function in Human Subjects: Assessment of Environmental Risks. Submitted
to US EPA. June 30.
2000. Pleus R.C. and Fulton K. Risk Assessment and Risk Communication: Strategic Tools.
Course presented at the Air & Waste Management Association 93rd Annual Conference, Salt
Lake City, UT, June 18-22.
2000. Pleus R.C., Goodman G., and Mattie D.R. Development of a Reference Dose for
Perchlorate: Current Issues and Status. Paper presented at the JANNAF Propellant Development
& Characterization Subcommittee and 18th Safety & Environmental Protection Subcommittee
Joint Meeting, NASA Kennedy Space Center, FL, May 11.
1999. Goodman G. and Pleus R.C. Study of Perchlorate Pharmacokinetics and Inhibition of
RAIU in Humans. Protocol submitted to and approved by the Institutional Review Board of
Oregon Health Sciences University. Study director: Monte Greer, MD. November 19.
1998. Goodman G. and Pleus R.C. Recommendations to the US EPA concerning the derivation
of a reference dose for perchlorate. Prepared for the American Pacific Corporation, Submitted to
the National Center for Environmental Assessment. Research Triangle Park, NC. September.
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   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 59 of 70


1998. Rogers D.E.C., Terblanche P., and Pleus R.C. Health risk assessment: its introduction to
South Africa for the regulation of emissions from medical waste incinerators. Presented at the
Papers of 11th World Clean Air and Environmental Congress, Volume 3. Durban, South Africa.
1998. Pleus R.C. Risk Assessment and Risk Communication: Strategic Tools. Course presented
at the Air & Waste Management Association Waste Combustion in Boilers and Industrial
Furnaces Specialty Conference, Kansas City, MO, April 14.
1998. Johnson D.L. and Pleus R.C. Current Issues that Effect the Estimate of Cancer Risks and
Noncancer Hazards in Multipathway Risk Assessments for BIF Facilities. Paper presented at the
Air & Waste Management Association Waste Combustion in Boilers and Industrial Furnaces
Specialty Conference, Kansas City, MO, April 15-16.
1998. Pleus R.C. and Johnson D.L. Assessing the Risks and Costs to Environmental Cases: Case
Studies of Management Responses to Community Discontent. Paper presented at the Air &
Waste Management Association Waste Combustion in Boilers and Industrial Furnaces Specialty
Conference, Kansas City, MO, April 15-16.
1998. Pleus R.C., Dunn L. and Rogers D.E.C. Comparison of the Use of Risk Assessment for
Human Health and Ecological Assessments in Developed and Developing Countries. Paper
presented at the 11th World Clean Air and Environment Congress, Durban, South Africa,
September 13-18.
1997. Pleus R.C. and Boss M.J. Risk Assessment and Risk Communication: Strategic Tools.
Course presented at the Air & Waste Management Association Waste Combustion in Boilers and
Industrial Furnaces Specialty Conference, St. Louis, MO, April 7.
1997. Shirai J., Pleus R.C. and Perry M. Chemical Characteristics of Cement Kiln Dust and their
Effect on Dioxin-Related Health Risks. Paper presented at the Air & Waste Management
Association Waste Combustion in Boilers and Industrial Furnaces Specialty Conference, St.
Louis, MO, April 8-10.
1997. Pleus R.C. Introduction to Risk Assessment and Risk Communication: Training Course I.
Course presented at the Council on Scientific and Industrial Research (CSIR), Pretoria, South
Africa, March 3.
1997. Pleus R.C. International Trend in Health Risk Assessment. Lecture to South African
governmental officials, CSIR Boardroom, Building 46, Pretoria, South Africa, March 11.
1997. Perry M. and Pleus R.C. What are the Neighbors Smelling? Odor Investigation of a
Portland Cement Plant. Paper presented at the Nevada Water Pollution Control Association
Annual Conference, Las Vegas, NV, March 7.
1997. Perry M. and Pleus R.C. Managing Corporate and Citizen Response to Foul Odors: Case
Studies Involving Commercial Disposal and Production Facilities. Paper presented at the Air &
Waste Management Association Annual Meeting, Toronto, Canada, June 8-13.
1996. Pleus R.C. Risk Assessment and Risk Communication: Strategic Tools. Course presented
at the Air & Waste Management Association Waste Combustion in Boilers and Industrial
Furnaces Specialty Conference, Kansas City, MO, March 25.
1996. Pleus R.C. and Boss M.J. Risk Assessment, Risk Communication, and Risk Management:
Strategic Tools. Course presented at the Air & Waste Management Association Clean Air
Conference, Orlando, FL, November 19.
1995. Pleus R.C. Risk Assessment and Risk Communication: Strategic Tools. Course presented
at the Air & Waste Management Association Waste Combustion in Boilers and Industrial
Furnaces Specialty Conference, Kansas City, MO, March 27.

                                     Pleus - 24
   Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 60 of 70



1995. Pleus R.C. and Minter S.L. Odor Investigation of a Portland Cement Plant. Paper
presented at the Air and Waste Management Association Odors: Indoor and Environmental Air
International Specialty Conference, Bloomington, MN, September 13-15.
1995. Brankovan V., Pleus R.C., and Molholt B. A Reference Dose Concentration (Rfd) for
Lithium. Paper presented at the Vth COMTOX Symposium on Toxicology and Clinical
Chemistry of Metals, Vancouver, British Columbia, Canada, July 10-13.
1995. Pleus R.C. and Kelly K.E. Health Effects Of Hazardous Waste Incineration
Facilities…More of the Rest of the Story; An Updated Review of the Scientific Basis of Alleged
Adverse Health Effects of Hazardous Waste Incineration. Paper presented at the Incineration
Conference, Bellevue, WA, June.
1994. Pleus R.C. Q & A's Regarding Recent US EPA Testing of Dioxins and Furans in CKD.
1994. Kelly K.E. and Pleus R.C. Health effects of hazardous waste incineration...more of the
story. Paper presented at Incineration Conference, Houston, TX, May.
1994. Kelly K.E. and Pleus R.C. Health effects of hazardous waste incineration. Paper presented
at the Medichem Conference, Melbourne, Australia, October 18-21.
1993. Kelly K.E. and Pleus R.C. Identifying the species of metal air toxics of greatest concern to
human health and the environment. Paper presented at the Air & Waste Management Association
Current Issues in Air Toxics Conference, Sacramento, CA, November 15-16.
1993. Pleus R.C. and Kelly K.E. Health effects of burning hazardous waste in hazardous waste
incinerators: US and international experience. Paper presented at the International Congress on
Health Effects of Hazardous Waste, Health and Human Services, Atlanta, GA, May 3-6.
1993. Pleus R.C. and Kelly K.E. Health effects of burning hazardous waste in cement kilns.
Paper presented at the International Congress on Health Effects of Hazardous Waste, Health and
Human Services, Atlanta, GA, May 3-6.
1993. Pleus R.C. and Kelly K.E. The health effects of burning hazardous waste in cement kilns
in the US. Paper presented at the Spalování, nebezpecnych odpadu v cementárnách, Brno,
Republic of Czech, January 27.
1992. O'Rourke M.F., Pleus R.C., Iversen L.J. and Bylund D.B. Pharmacologic characterization
of alpha-2 adrenergic receptor heterogeneity in rat brain. Abstract. Soc. Neurosci. Abstr. 18: 457.
1992. Blaxall H.S., Pleus R.C., Cerutis D.R., Hass N.A. and Bylund D.B. Regulation of the
alpha-2C adrenergic and 5HT1B serotonergic receptors by dexamethasone in an opossum kidney
(OK) cell line. Abstract. Soc. Neurosci. Abstr. 18: 1538.
1992. Cerutis D., Pleus R.C., Blaxall H., Hass N. and Bylund D.B. Characterization of an alpha-
2 adrenergic receptor expressed in the human pineal gland. Abstract. FASEB, April.
1992. Pleus R.C., Shiue C.Y., Shiue G.G., Rysavy J.A., Huang H., Frick M.P. and Bylund D.B.
Carbon-11 labeled alpha-2 adrenergic receptor antagonist: Synthesis of [11C]WY 26703 and its
biodistribution in rodents. Abstract. IXth International Symposium on Radiopharmaceutical
Chemistry, Paris, France, 6-10 April.
1992. Shiue C.Y., Bai L., Shiue G.G., Rysavy J.A., Pleus R.C., Huang H., Frick M.P., Catt J.D.
and Yevich J.P. Fluorine-18 labeled BMY 14802: Synthesis and anatomical distribution in
rodents. Abstract. IXth International Symposium on Radiopharmaceutical Chemistry, Paris,
France, 6-10 April.
1992. Pleus R.C., Shiue C.Y., Shiue G.G., Rysavy J.A., Huang H., Frick M.P., and Bylund D.B.
1992. Comparison of [11C]MK-912 and[11C]WY26703 as alpha-2 adrenergic receptor ligands.
Abstract. J. Nucl. Med. 5: 861.
                                    Pleus - 25
       Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 61 of 70



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                                        Pleus - 30
                                Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 66 of 70
                                                                                    Summary of testimony for Richard C. Pleus, PhD, MS                                                                 As of 4/21/2021




                 Workers'                                                                                                                                                  Expert Reports &
                Comp (WC)                                                                                                                                                Declarations submitted                    Testimony at
Number   Year                                                Case Reference                                      Venue                      Chemicals of Concern                                  Depositions
                or Litigation                                                                                                                                                (includes Draft                       Trial/Hearing
                     (L)                                                                                                                                                       Documents)
                                                                                                  U.S. District Court Western District occular treatment with
                                Mothershead v. Wofford ((State of WA (Pierce County) v.           of Washington - at Tacoma            pharmaceuticals
  1      2021         L                                                                                                                                                            x
                                Mothershead)

                                                                                                  New York Workers’ Compensation dermal and respiratory chemicals
  2      2020       WC          Victor Valdez v Delta                                             Board Case No.                 from uniforms                                     x
                                                                                                  B966926768000101669
                                                                                                  New York Workers’ Compensation dermal and respiratory chemicals
  3      2020       WC          Millwood v Delta                                                  Board Case No. 30192957666-    from uniforms                                     x
                                                                                                  0001
                                                                                                  New York Workers’ Compensation dermal and respiratory chemicals
  4      2020       WC          Barthelemy v Delta                                                Board Case No. 30193115885-    from uniforms                                     x
                                                                                                  0001
                                                                                                  New York Workers’ Compensation dermal and respiratory chemicals
  5      2020       WC          Bazan-Stone v Delta                                               Board Case No. 30193777823-    from uniforms                                     x
                                                                                                  0001
                                                                                                  "Court appointed appraisers"        chemicals from bleed air
  7      2020         ?         Einarsdottir v Icelandair                                                                                                                          x
                                                                                                  Illinois State Workers'             dermal and respiratory chemicals
  8      2020       WC          Harper v American Airlines                                                                                                                         x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  9      2020       WC          Page-Nelson v Delta                                                                                                                                x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  10     2020       WC          Baldoz v Delta                                                                                                                                     x                  x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  11     2020       WC          Guna v Delta                                                                                                                                       x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  12     2020       WC          Nealy v Delta                                                                                                                                      x                                     x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  13     2020       WC          Germusa v. Delta                                                                                                                                   x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  14     2020       WC          Cole v. Delta                                                                                                                                      x                  x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  15     2019       WC          Vangrieken v. Delta                                                                                                                                x                                     x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             chemicals from bleed air
  16     2019       WC          Mcqueen V. American Airlines                                      Compensation Board - 00653408                                                    x

                                                                                                  New York State Workers'             dermal and respiratory chemicals
  17     2019       WC          Wong v. Delta                                                                                                                                      x                                     x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  18     2019       WC          Lee v. Delta                                                                                                                                       x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  Circuit Court of Cook County,       chemicals from bleed air
  19     2019         L         Vanessa Woods, Et Al., V. The Boeing Company                                                                                                       x                  x
                                                                                                  Illinois
                                                                                                  New York State Workers'             dermal and respiratory chemicals
  20     2019       WC          Labow v. Delta                                                                                                                                     x                                     x
                                                                                                  Compensation Board                  from uniforms
                                                                                                  Oregon Workers' Compensation        chemicals from bleed air
  21     2019       WC          Myers v JetBlue                                                   Board, Portland Hearings Division                                                x                                     x

                                                                                                  Superior Court Of The State Of      PCBs in air
  22     2019         L         Erickson et al. V. Monsanto                                                                                                                        x
                                                                                                  Washington
                                                                                                  Superior Court Of The State Of      PCBs in air
  23     2019         L         Bard v. Monsanto                                                                                                                                   x
                                                                                                  Washington
                                                                                                  Superior Court Of The State Of      occupatonal exposure to gases
  24     2019         L         Roscoe, Allen, and Allen v. Kroner Environmental Services, Inc.                                                                                    x
                                                                                                  Washington
                                                                                                  Department of Labor and Industial   asbestos
                                                                                                  Relations, Division of Workers'
  25     2018       WC          Elston v. General Motors                                                                                                                           x
                                                                                                  Compensation, State of Missouri

                                                                                                  Worker's Compensation State of      chemicals used in aircraft
  26     2018       WC          Wagner v. American Airlines                                                                                                                        x
                                                                                                  Missouri Case#15-106316             maintenance
                                                                                                  State of New York Workers’          chemicals in uniform
                                                                                                  Compensation Board Claim
  27     2018       WC          Wolterman v American Airlines                                                                                                                      x                  x
                                                                                                  #G2059497

                                                                                                  State of Pennsylvania Bureau of     tricresyl phosphate and other
  28     2018       WC          Jurmann v American Airlines                                                                                                                        x
                                                                                                  Workers’ Compensation Claim         organophosphates
                                                                                                  State of Pennsylvania Bureau of     chemicals in uniform
                                                                                                  Workers’ Compensation Claim
  29     2018       WC          Sneddon v American Airlines                                                                                                                        x                  x
                                                                                                  #8014689

                                                                                                  State of New York                   chemicals in uniform
                                                                                                  Workers’ Compensation Board
  30     2018       WC          Niepoky v American Airlines                                                                                                                        x
                                                                                                  Case #G1957833

                                                                                                  State Of Illinois – Workers’        chemicals in uniform
  31     2018       WC          Robin Adams-Dejardin v American Airlines                                                                                                           x
                                                                                                  Compensation Commission Claim
                                                                                                  Illinois Workers’ Compensation      tricresyl phosphate and other
                                                                                                  Commission Case #16WC27699          organophosphates
  32     2018       WC          Mary Ellen Sadler v American Airlines                                                                                                              x                  x

                                                                                                  State of Pennsylvania Workers’      chemicals in uniform
                                                                                                  Compensation Office of
  33     2018       WC          James Chidiac v American Airlines                                                                                                                  x                  x
                                                                                                  Adjudication Case #7937511

                                                                                                  Pennsylvania Department of Labor    tricresyl phosphate and other
  34     2018       WC          Efelyn Lattini v American Airlines #7956682                                                                                                        x                  x
                                                                                                  & Industry                          organophosphates
                                                                                                  State of New York - Workers'        chemicals in uniform
  35     2018       WC          Virginia Hardie v American Airlines #G1984449                                                                                                      x
                                                                                                  compensation Board
                                                                                                  North Carolina Industrial           tricresyl phosphate and other
  36     2017       WC          Danny Gulledge v American Airlines # 17-026830                                                                                                     x
                                                                                                  Commission                          organophosphates
                                                                                                  State of Virginia Workers’          chemicals in uniform
  37     2017       WC          Margot Little v American Airlines #VA00001327897                                                                                                   x                  x
                                                                                                  Compensation Commission Case




                                                                                                           Page 1 of 3
                                Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 67 of 70
                                                                                     Summary of testimony for Richard C. Pleus, PhD, MS                                                                            As of 4/21/2021




                 Workers'                                                                                                                                                              Expert Reports &
                Comp (WC)                                                                                                                                                            Declarations submitted                    Testimony at
Number   Year                                                Case Reference                                              Venue                       Chemicals of Concern                                     Depositions
                or Litigation                                                                                                                                                            (includes Draft                       Trial/Hearing
                     (L)                                                                                                                                                                   Documents)

                                                                                                          Workers' Compensation Appeals        chemicals in uniform
  38     2017       WC          Elsa Castillo v American Airlines #ADJ10861614                                                                                                                 x
                                                                                                          Board, State of California
                                                                                                          Illinois State Workers'              chemicals in uniform
  41     2017       WC          Shannon Halverson v American Airlines #00599996                                                                                                                x
                                                                                                          Compensation Board
                                                                                                          Virginia Workers' Compensation       chemicals in uniform
  42     2017       WC          Kimberly Fraser v American Airlines #599819                                                                                                                    x
                                                                                                          Commission
                                                                                                          New York State Workers'              chemicals in uniform
  43     2017       WC          Angela Fillman v American Airlines #G1 765206                                                                                                                  x
                                                                                                          Compensation Board
                                                                                                          Illinois State Workers'              chemicals in uniform
  44     2017       WC          Alexandra Hughes, v American Airlines #00598896                                                                                                                x
                                                                                                          Compensation Board
                                                                                                          Illinois State Workers'              tricresyl phosphate and other
  45     2017       WC          Dana Garner, v American Airlines #00599450                                                                                                                     x
                                                                                                          Compensation Board                   organophosphates
                                                                                                          County of Kootenai Discrict Court;   paint and coatings
  48     2016         L         Rehrmann v. The iHookah Club                                                                                                                                   x
                                                                                                          First Judicial District; Idaho
                                                                                                          United States District Court,        tricresyl phosphate and other
  49     2016         L         Kenneth Davidson v Fairchild Control Corp                                                                                                                      x                  x
                                                                                                          Southern District Of Texas,          organophosphates
                                                                                                          Montana Second Judicial District     arsenic, lead
  50     2016         L         Christian v ARCO; DV-08-173 BN                                                                                                                                 x
                                                                                                          Court, Silver Bow County
                                                                                                          Spokane County Superior Court;       ethanol
  51     2015         L         Brown, Adam D. v. West 57 LLC et al                                                                                                                            x
                                                                                                          Washington State
                                Workers Compensation Claim of James Casteel, #                            WA workers’ compensation claim       malt dust
  53     2015         L                                                                                                                                                                        x
                                WCGWM2014728884
                                                                                                          Claim # WCGWM2014728884              fumes from electric fire
  54     2015         L         Rohlfsen v United Airlines                                                                                                                                     x                  x
                                Kelsey Ann Pitts V Housing Authority Of King County Case #: 14-2-       KING COUNTY SUPERIOR                   fungal and mycotoxins; volitile
  55     2015         L                                                                                                                                                                        x
                                27253-7 SEA                                                             COURT                                  organic compounds
                                Mr. David Zaharik/ WorkSafeBC.File No. 12217967/ WCAT No.               Worker's Compensation Appeal           tricresyl phosphate and other
  56     2014       WC                                                                                                                                                                         x
                                141165-A                                                                Tribunal, British Columbia             organophosphates
                                Community Association for Resoration of the Environment, Inc., et al. , U.S. District Court, Eastern District, nitrate, nitrite
  57     2014         L                                                                                                                                                                        x                  x
                                v Cow Palace, LLC, et al.. Case No. 13-CV-3016                          WA
                                                                                                        U.S. District Court, Western           allergens in dairy products
  59     2014         L         Saffioti v. Maxim Healthcare Services                                                                                                                          x
                                                                                                        District, WA
                                Uflex Packaging, Inc., et al. v. The Promotion in Motino Brands, et al. Superior Court of New Jersey, Law chemicals leaching from candy
  61     2014         L                                                                                                                                                                        x                  x
                                Case No. SOM-L-320-12                                                   Division, Middlesex County             wrapper
                                                                                                        Superior Court of Washington, King TCE
  62     2014         L         Smith et ANO v. Jana et al.                                                                                                                                    x
                                                                                                        County
                                                                                                        Bureau of Workers' Compensation, veterinary shampo
  63     2014       WC          Sieberlich v Petsmart. Claim No. 7211970                                                                                                                       x                  x
                                                                                                        PA
                                                                                                        US District Court, Western District arsenic, mercury
  64     2014         L         Jean Pierre Rey et al. v Michel Rey et al. No. 3:14-cd-5093                                                                                                                       x
                                                                                                        of Washington at Tacoma
                                Loretta Albright v Lee A. Antles, M.D. and West Olympia Internal        Superior Court of Washington,          lavaquin
  65     2014         L                                                                                                                                                                                           x
                                Medicine, PLLC                                                          Thurston County
                                                                                                        Superior Court, Pierce County,         eye pharmaceuticals
  68     2013         L         State of WA (Pierce County) v. Mothershead                                                                                                                     x
                                                                                                        State of WA
                                                                                                        Workers Compensation Board             tricresyl phosphate and other
  69     2013       WC          Air Canada v. Zaharik                                                                                                                                          x
                                                                                                        (Canada)                               organophosphates
                                                                                                        In The Office Of Administrative        sulfer dioxides, nitrogen oxides,
                                                                                                        Hearings, State Of North Carolina, mercury
                                North Carolina Coastal Federation, et al. v. North Carolina Dept. of    County Of Wake
  70     2013         L                                                                                                                                                                        x
                                Environment and Natural Resources                                       In The Office Of Administrative
                                                                                                        Hearings, State Of North Carolina,
                                                                                                        County Of Wake
                                Christian v. BP Amoco Corporation, et al., Atlantic Richfield Company, MT Second Judicial District Court       arsenic, lead
  71     2012         L                                                                                                                                                                        x                  x
                                et al.
                                                                                                        Louisiana Workers Compensation tricresyl phosphate and other
  72     2012       WC          Davidson v. Northrop Grumman Corporation                                                                                                                       x
                                                                                                                                               organophosphates
                                                                                                        Transport Canada Health and            tricresyl phosphate and other
  73     2012       WC          Air Canada v. La Porte and Martinez                                                                                                                            x                  x                  x
                                                                                                        Safety                                 organophosphates
                                                                                                        Transport Canada Health and            tricresyl phosphate and other
  74     2012       WC          Delgado and Liang, LaPorte, Martinez, Blaize v. Air Canada                                                                                                     x                  x
                                                                                                        Safety                                 organophosphates
                                                                                                        PA Workers' Compensation               tricresyl phosphate and other
  75     2011       WC          Patricia Forames v. US Airways, Claim No. 3648033                                                                                                              x                  x
                                                                                                                                               organophosphates
                                                                                                        PA Workers' Compensation               tricresyl phosphate and other
  76     2011       WC          Tina Costanzo v. US Airways, Claim No. 3950217                                                                                                                 x                  x
                                                                                                                                               organophosphates
                                                                                                        North Carolina Industrial              tricresyl phosphate and other
  78     2011       WC          Janet Zweber v. U.S. Airways                                                                                                                                   x
                                                                                                        Commission                             organophosphates
                                                                                                        Superior Court of Washington, King carbon monoxide
  79     2011       WC          Carol Dobbs v. Glendale Heating and Air Conditioning                                                                                                           x
                                                                                                        County
                                                                                                        North Carolina Industrial              tricresyl phosphate and other
  80     2011       WC          Toni Day v. U.S. Air, IC No. X53460,                                                                                                                           x                  x
                                                                                                        Commission                             organophosphates
                                                                                                        Circuit Court Mobile County,           tricresyl phosphate and other
  82     2011         L         Forames v. ST Aerospace Mobile, Case No. 02-CV-2011-900803.00                                                                                                  x                  x
                                                                                                        Alabama                                organophosphates, jet engine oil
                                                                                                        US District Court, Central District    bacteria/microbe recreational waste
                                NRDC/Santa Monica Baykeeper v. City of Malibu, CV 08-1465-AHM
  83     2011         L                                                                                 CA                                     aquatic organisms                               x
                                (PLAx)
                                Puget Soundkeeper Association v. BNSF Railway Company No. 2:09- US District Court, Western District            copper, lead, zinc
  84     2010         L                                                                                                                                                                        x
                                CV-01087-JCC                                                    WA
                                                                                                Superior Court, Thurston County                ethanol, oxycodone, hydrocodone,
  86     2010         L         Suther Estate v. Neal, 10-2-01636-5                                                                            hydromorphone, acetominophen                    x

                                                                                                          Montana 20th Judicial District       gasoline
  87     2010         L         Kohler v. Keller Transport, Inc., No. DV09-1                              Court, Lake County                                                                   x
                                                                                                          PA Workers' Compensation             tricresyl phosphate and other
  88     2010       WC          Garee v. U.S. Air, Claim No. 3644537                                                                                                                           x
                                                                                                                                               organophosphates
                                                                                                          PA Workers' Compensation             tricresyl phosphate and other
  89     2010       WC          Hudson v. U.S. Air, Claim No. 3621509                                                                                                                          x                  x
                                                                                                                                               organophosphates
                                                                                                          PA Workers' Compensation             tricresyl phosphate and other
  90     2010       WC          Keegan v. U.S. Air, Claim No. 3621514                                                                                                                          x
                                                                                                                                               organophosphates
                                                                                                          PA Workers' Compensation             tricresyl phosphate and other
  91     2010       WC          Panzner v. U.S. Air, Claim No. 3658577                                                                                                                         x
                                                                                                                                               organophosphates




                                                                                                                   Page 2 of 3
                                Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 68 of 70
                                                                                        Summary of testimony for Richard C. Pleus, PhD, MS                                                                     As of 4/21/2021




                 Workers'                                                                                                                                                          Expert Reports &
                Comp (WC)                                                                                                                                                        Declarations submitted                    Testimony at
Number   Year                                                   Case Reference                                         Venue                         Chemicals of Concern                                 Depositions
                or Litigation                                                                                                                                                        (includes Draft                       Trial/Hearing
                     (L)                                                                                                                                                               Documents)

                                                                                                       PA Workers' Compensation                tricresyl phosphate and other
  92     2010       WC          Sutherland v. U.S. Air, Claim No. 3631195                                                                                                                  x                  x
                                                                                                                                               organophosphates
  93     2010         L         Bestul v. Phelps, Pacific Env. Services Co. 09-2-00435-4               Superior Court, King County             ethanol                                     x
                                                                                                       Superior Court, King County             tricresyl phosphate and other
  94     2009         L         Williams v. Boeing 09-2-15315-98 SEA                                                                                                                       x                  x
                                                                                                                                               organophosphates
  96     2009         L         City of Seattle v. Sebastien Scandiuzzi                                Superior Court, King County             doxylamine, tramadol                        x
                                                                                                       Superiior Court, King County            PCBs, dioxins, metals
  97     2009         L         Seattle v Boeing v King Co no. 07-02-23991-01 SEA                                                                                                          x
                                                                                                       PA Workers' Compensation                tricresyl phosphate and other
 103     2007       WC          Anna Denney v. US Airways, Industrial Commission File No. 642874                                                                                           x
                                                                                                                                               organophosphates
                                                                                                       U.S. District Court, Western            solvents
 104     2007         L         Troy Rossi v. A.P. Moller-Maersk A/S et al., No. 3-06-CV-05416 RBL                                                                                         x
                                                                                                       District, WA
                                                                                                       US District Court, Central District     aldehydes, chlorofluorocarbons
 105     2007         L         Barrios v. Union Pacific, CV 04-08972 RSWL (MANx)                                                                                                          x
                                                                                                       CA
                                Armed Services Board of Contract Appeals No. 54853; Appeal of The      Armed Svcs Board Contract               perchlorate
 107     2007         L         Boeing Company on behalf of Lockheed Martin Corporation, Under         Appeals                                                                             x                   x
                                Contracts Nos. AF3306573- 16684 et al
                                Julie Anderson et al. v. Akzo Nobel Coatings Inc., et al., No. 06-2-   Superior Court, King County             solvents, paints
 111     2006         L                                                                                                                                                                    x                   x
                                11986-5
                                                                                                       Superior Court, King County             solvents, paints
 112     2006         L         Janet and Charles Drysdale v. Akzo Nobel, No. 05-2-27952-4 SEA                                                                                             x
                                                                                                    United States District Court               perchlorate
 113     2006         L         Norah Wilkins et al. v. Olin Corporation, et al., ---                                                                                                      x
                                                                                                    Northern District of California
                                Brian Wheatley and Lisa Wheatley v. Suncrest Homes, Inc., No. 04-2- Superior Court, King County                fungal and mycotoxins
 115     2006         L                                                                                                                                                                    x
                                38813-9KNT
                                Belinda Rianda and Erica Rianda v. Olin Corporation, et al.,, Civil US District Court, Northern District,      perchlorate
 116     2006         L                                                                                                                                                                    x                  x                  x
                                Action No. 5:04-cv-02668-RMW                                        San Jose, CA
                                                                                                    Superior Court, King County                illicit drug use
 117     2006         L         Diana Blome v. Blome, King County Cause No. 02-3-01955-6 SEA                                                                                               x
                                                                                                       Superior Court of California -        perchlorate, TCE, other chemicals
 120     2005         L         Nathaniel Allen, Jr., et al. vs. Aerojet-General Corporation, et al.                                                                                       x                  x                  x
                                                                                                       Sacramento                            in drinking water
                                                                                                       US District Court, Eastern District, beryllium
 122     2005         L         Richard Southam v. Fluor Hanford, Inc. - No. 04-CV-5104-FVS                                                                                                x
                                                                                                       WA
                                Jayne Palmisano, et al. v. Olin Corporation, et al., No. C-03-01607    US District Court, Northern District, perchlorate
 125     2004         L                                                                                                                                                                    x                  x                  x
                                RMW                                                                    CA
                                Joyce Grubbe v. Jackie Associates Partnership, et al., No. 03-2-38207- Superior Court, King County           fungal and mycotoxins
 126     2004         L                                                                                                                                                                    x
                                8 SEA
                                                                                                       280th District Court, Harris County, ephedrine alkaloids
 130     2004         L          Lavine v. MuscleTech, No. 2003-29113                                                                                                                      x
                                                                                                       TX
                                                                                                       King County Hearing Examiner,         soil contaminants
 131     2004         L         Appeal of Campbell Soup Company and Stockpot, Inc.                                                                                                         x                  x                  x
                                                                                                       KCWWTD
 132     2004         L         Grennan v. Genie Industries, Case No. 02-2-17642-9 SEA                 Superior Court, King County           amphetamines                                  x
 133     2004         L         Dolan v. Shelton, No. 03-2-01040-2                                     Superior Court, King County           fungal and mycotoxins                         x
 136     2003         L         Brad Garrett v. Joshua Green Corporation et al., ---                   Superior Court, King County           perchlorethylene                              x
                                Donna E. Bosch and James A. Bosch v. Sunset Pacific General            Superior Court, Pierce County         fungal and mycotoxins
 138     2003         L                                                                                                                                                                                       x
                                Contractors, No. 99-2-12814-7
                                                                                                       US District Court, District of Oregon sarin, sulfur mustard
 140     2003         L         Everett Akers, et al. v. Raytheon, et al. - No. CV-01-1348-HU                                                                                              x
 143     2002         L         Bradford, et al. v. McDonnell Douglas Corporation, et al,              Superior Court, King County             chemicals from bleed air                    x                                     x
                                                                                                       The District Court Of Lancaster         fungal and mycotoxins
 147     1998         L         Cheryl Mapes-Liegl v. JRJ Inc., Docket No. 559                                                                                                                                                   x
                                                                                                       County, Nebraska                                                                    x
 148     1998         L         Brighton et al. v. Cedar Grove Composting, ---                         Superior Court, King County             decomposition gases                         x
                                                                                                       United States District Court District   lead, arsenic, metals
 151     1997         L         Trimble et al. v. Asarco, ---                                                                                                                                                  x
                                                                                                       Of Nebraska
 152     1997         L         Buchannan v. Simplot, ---                                              Washington                              biological aerosols                         x                   x
                                                                                                       Florida                                 pesticide
 153     1996         L         Alvine v. Pestex, ---                                                                                                                                      x                   x
 155     1996         L         Brown v. Sherwin Williams, ---                                         Pennsylvania                            siloxanes                                   x                   x
 156     1996         L         Coleman et al. v. Port of Bremerton                                    Superior Court, Ktsap County            landfill gases                                                  x
 158     1996         L         Asarco v. Washington Department of Ecology, ---                        Superior Court, Thurston County         arsenic, lead                               x                   x




                                                                                                                 Page 3 of 3
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 69 of 70




                          Exhibit E
Case 1:20-cr-00110-LJL Document 263-1 Filed 12/06/21 Page 70 of 70




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